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                                         7
                                             Email: mkurth@foxrothschild.com
                                         8
                                             Special Counsel for the Debtor and
                                         9   Debtor-in-Possession
                                        10                                 UNITED STATES BANKRUPTCY COURT
                                        11
                                                                           SOUTHERN DISTRICT OF CALIFORNIA
10250 Constellation Blvd., Suite 900




                                        12
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                                                   In re:                                          Case No. 17-06078-MM
       (310) 556-9828 (fax)




                                        13
                                                   CORE SUPPLEMENT TECHNOLOGY,                     Chapter 7
                                        14
                                                   INC., a California Corporation,
                                        15                                                         FIRST AND FINAL APPLICATION OF
                                                            Debtor and Debtor-in-Possession.       FOX ROTHSCHILD LLP FOR
                                        16                                                         APPROVAL OF COMPENSATION AND
                                                                                                   REIMBURSEMENT OF EXPENSES
                                        17                                                         FOR THE PERIOD MARCH 9, 2018
                                        18                                                         THROUGH AUGUST 13, 2018;
                                                                                                   DECLARATION OF METTE H.
                                        19                                                         KURTH

                                        20

                                        21

                                        22
                                                        TO THE HONORABLE MARGARET M. MANN, UNITED STATES BANKRUPTCY
                                        23
                                             JUDGE; THE OFFICE OF THE UNITED STATES TRUSTEE; THE CHAPTER 7
                                        24
                                             TRUSTEE AND HIS COUNSEL; AND ALL OTHER PARTIES ENTITLED TO NOTICE:
                                        25
                                             ///
                                        26
                                             ///
                                        27
                                             ///
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                                         1          Fox Rothschild LLP hereby seeks an order allowing its request for $125,542.43 in final

                                         2   compensation relating to $120,089.00 in services rendered and $5,453.43 in expenses incurred from

                                         3   March 9, 2018 through and including August 13, 2018 (the “Application Period”). In support of this

                                         4   application, Fox respectfully submits the annexed Declaration of Mette H. Kurth and represents and

                                         5   shows as follows:

                                         6                                                     I.

                                         7                                            INTRODUCTION

                                         8          Core Supplement Technology, Inc. (the “Debtor”) commenced a Chapter 11 case on October
                                         9   3, 2017 in order to pursue a going-concern sale of its business. Five months later, on March 9, 2018,
                                        10   the Court denied approval of a proposed going-concern sale to Simpson Labs LLC and issued an
                                        11   Order to Show Cause why the Debtor’s case should not be converted to a case under Chapter 7.
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                                        12   Fearing that creditors would receive substantially less in a liquidation than in a going-concern sale,
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                                        13   the Debtor then asked Fox to assist on an emergency basis in an attempt to salvage the sale process
                                        14   and creditor recoveries. On March 21, 2018, Fox filed an application seeking employment as special
                                        15   counsel, which it later supplemented on March 30, 2018 [Doc. #212 and 227]. On April 2, 2018, the
                                        16   Court entered its Order on Application for Order Approving the Employment of Fox Rothschild LLP
                                        17   as Special Counsel for Debtor Effective as of March 12, 2018 [Doc. #236]. Because of substantial
                                        18   work done by Fox on very compressed timeframe, the Debtor successfully obtained approval of a
                                        19   renewed sale effort, resulting in value of $1.454 million to the Debtor’s estate. Following completion
                                        20   of the sale, the Court converted the Debtor's case to one under Chapter 7.
                                        21          The attorney principally responsible for providing services to the Debtor was Mette H. Kurth.
                                        22   Margaret M. Manning and other Fox paraprofessionals have also provided services. Fox has
                                        23   represented the Debtor as efficiently as possible given the extremely short deadlines that the Debtor
                                        24   faced and the exigent circumstances. The rates charged by Fox professionals are comparable to those
                                        25   charged by other experienced and skillful professionals with bankruptcy and non-bankruptcy
                                        26   practices in the Southern District of California. Moreover, to address concerns about administrative
                                        27   expenses in this case, as a courtesy, Fox agreed to reduce the guideline hourly rate charged by Ms.
                                        28

                                                                                               2
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                                         1   Manning from $430 to $405 and to reduce the guideline hourly rate charged by Ms. Kurth from $830

                                         2   to $650.

                                         3                                                      II.
                                         4                                            BASIS FOR RELIEF
                                         5             Fox submits this application for payment in compliance with 11 U.S.C. § 331, Rule 2015 of
                                         6   the Federal Rules of Bankruptcy Procedure, the Local Bankruptcy Rules for the United States
                                         7   Bankruptcy Court for the Southern District of California, and the Guide to Applications for Retainers
                                         8   and Professional and Insider Compensation issued by the Office of the United States Trustee for the
                                         9   Southern District of California.
                                        10             The Court has jurisdiction over this application pursuant to 28 U.S.C. § 1334. This matter is
                                        11   a core proceeding within the meaning of 28 U.S.C. § 157(b). Venue of the Debtor’s case and this
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                                        12   application is proper under 28 U.S.C. § 1408 and 1409. The statutory predicates for the relief sought
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                                        13   herein are sections 330 and 331 of the Bankruptcy Code.
                                        14                                                      III.
                                        15                       SUMMARY OF FEES REQUESTED AND PAID TO DATE
                                        16             Fox is seeking an order allowing its request for $125,542.43 in final compensation relating
                                        17   to $120,089.00 in services rendered and $5,453.43 in expenses incurred during the Application
                                        18   Period.     This application is net of $20,152.00 in fees that Fox has voluntarily written off in the
                                        19   exercise of its billing discretion. Fox’s courtesy discount of the rates charged by Ms. Manning and
                                        20   Ms. Kurth represents an additional reduction of $17,718.50. Together—notwithstanding Fox’s
                                        21   extraordinary efforts in this case and the excellent result that it achieved—Fox has voluntarily
                                        22   reduced its fees by $37,870.50, or approximately 24%.
                                        23             This is Fox’s first and final application for compensation, and to date Fox has received no
                                        24   payment from the Debtor’s estate. Fox has received or been promised no compensation for the
                                        25   services that it provided or the expenses that it incurred in this case except as set forth herein.
                                        26   Furthermore, neither Fox nor any member of Fox has any agreement or understanding of any kind
                                        27   to divide, pay over, or share any portion of the fees to be awarded to Fox with any other person or
                                        28   attorney except as among Fox’ members and associates.

                                                                                                 3
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                                         1                                                     IV.

                                         2                                        SUMMARY OF EXHIBITS

                                         3             Exhibit 1 summarizes the background and qualifications of the professionals who provided
                                         4   services during the Application Period. Exhibit 2 contains an invoice describing in detail all services
                                         5   that Fox provided and expenses that it incurred during the Application Period. Exhibit 3 summarizes
                                         6   the total fees incurred for each activity category. Exhibit 4 summarizes, by attorney and paralegal,
                                         7   the hours billed and fees charged by each professional providing services during the Application
                                         8   Period.
                                         9                                                      V.
                                        10                                 NARRATIVE HISTORY OF THE CASE
                                             A.        Background
                                        11
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                                        12             The Debtor manufactured and distributed private-label nutritional supplements. That market
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                                        13   is extremely competitive, with razor thin profit margins, and the Debtor was unable to achieve the

                                        14   manufacturing efficiencies necessary to generate a profit.
                                        15
                                                       On October 3, 2017, the Debtor filed a voluntary petition for relief under Chapter 11 of the
                                        16
                                             Bankruptcy Code in order to pursue a going-concern sale. Simpson Labs (“Simpson”) expressed
                                        17
                                             interest in purchasing substantially all of the Debtor’s assets and negotiations ensued, resulting in an
                                        18
                                             Asset Purchase Agreement (the “Initial APA”). Under the Initial APA, Simpson offered to purchase
                                        19

                                        20   substantially all of the Debtor's assets (the “Included Assets”) for $1.6 million. Due largely to

                                        21   misinformation regarding the Debtor’s ownership of certain equipment listed on the Debtor’s
                                        22   schedules, as well as the depletion of inventory on hand, Simpson later reduced the purchase price to
                                        23
                                             $1.1 million.
                                        24
                                                       On February 19, 2018, the Debtor filed a Motion for Entry of (1) Order Approving Stalking
                                        25
                                             Horse, Marketing and Overbid Procedures, and Setting a Final Sale Hearing; (2) Order Approving
                                        26

                                        27   (A) Sale Free and Clear, (B) Assumption and Assignment of Executory Contracts and Unexpired

                                        28   Leases; and (C) Related Relief and Memorandum of Points and Authorities in Support thereof (the

                                                                                                4
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                                             “Initial Sale Motion”) [Doc. #139].1 However, the Debtor and its professionals struggled to address
                                         1

                                         2   extensive concerns that the Court had regarding the sale. On Friday, March 9, 2018, the Court entered

                                         3   an Order Denying Debtor Core Supplement Technology, Inc.’s Motion to Approve Sale Free and

                                         4   Clear of Liens and Encumbrances, Assumption of Executory Contracts and Leases and Related Relief
                                         5
                                             Without Prejudice (the “Initial Sale Order”) [Doc. #179]. Recognizing that the Debtor could not
                                         6
                                             continue operations absent a sale, the court also entered an Order to Show Cause Why This Case
                                         7
                                             Should Not Be Dismissed or Converted to a Case Under Chapter 7 (the “Show Cause Order”) [Doc.
                                         8
                                             #177]. The Court set the Show Cause Order for hearing on March 21, 2018.
                                         9

                                        10           The Court’s concerns with the sale were extensive. They included: inconsistency in the

                                        11   purchase price throughout the sale documents; concerns that the Debtor may have been continuing to
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                                        12   operate pursuant to financing arrangements with Simpson that might have been harmful to the Debtor;
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                                        13
                                             questions about the relationship between the Debtor and Simpson pursuant to a proposed Interim
                                        14
                                             Operating Agreement; a costly and inefficient ramp up schedule under that Interim Operating
                                        15
                                             Agreement; the possibility of the Interim Operating Agreement discouraging potential competing
                                        16

                                        17   bids; the vague description of the impact the Interim Operating Agreement would have on creditors;

                                        18   the Debtor’s failure to establish that the sale proceeds would be sufficient to provide "adequate

                                        19   protection" for all of the secured claims encumbering Included Assets; the Debtor’s failure to establish
                                        20   that the estate was receiving maximum value for the Included Assets; the then-unexplained decline
                                        21
                                             in the sale price over the months leading up to the sale hearing; concerns that Simpson may have
                                        22
                                             taken advantage of the Debtor’s declining profitability; the Debtor’s failure to seek piecemeal
                                        23
                                             purchase offers for its assets as an alternative to a going-concern sale of substantially all assets; the
                                        24

                                        25   lack of assurance that the sale would generate any value to unsecured creditors, or even cover the

                                        26

                                        27
                                             1
                                                 All capitalized terms not otherwise defined herein have the definitions ascribed to them in the Initial Sale
                                        28       Motion.

                                                                                                    5
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                                             estate’s administrative expenses; uncertainly regarding the treatment of unpaid rent and refunds of
                                         1

                                         2   customer deposits for work in progress; a lack of information regarding “outsourcing payments” made

                                         3   by Simpson; uncertainty regarding the profitability of certain Simpson/Debtor post-petition dealings;

                                         4   and a lack of clarity in the sale documents with respect to leased equipment, the amount of secured
                                         5
                                             claims, and customer deposits.2 The Court echoed many of these concerns in the Show Cause Order.
                                         6
                                             However, the Initial Sale Order also indicated that the Court would consider any new sale motion on
                                         7
                                             its terms and on the evidence supporting it, if a new motion were to be filed and properly noticed to
                                         8
                                             creditors.
                                         9

                                        10           On Monday, March 12, 2018, the Debtor engaged Fox, on an emergency basis, to renegotiate

                                        11   the proposed sale to Simpson, formulate a new sale process that would address the Court’s procedural
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                                        12   concerns, address the numerous and wide-ranging questions regarding the sale set forth in the Initial
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                                        13
                                             Sale Order and the Show Cause Order, and prepare and seek approval of a new sale motion prior to
                                        14
                                             the March 21, 2018 hearing regarding conversion of the case. Fox immediately began addressing
                                        15
                                             these issues and developing a new, approvable sale process. Among other things, to address the
                                        16

                                        17   Court’s many issues with the proposed sale and effectively negotiate a new sale agreement with

                                        18   Simpson, Fox conducted extensive interviews of the Debtor’s management and professionals as well

                                        19   as its lender and the Simpson team. It also reviewed numerous filings in the bankruptcy case,
                                        20   including the Initial APA, the Initial Sale Motion, and all related documents as well as the Debtor’s
                                        21
                                             schedules, relevant status reports, and declarations. Fox began negotiating a new, more favorable
                                        22
                                             purchase agreement with Simpson. And Fox simultaneously worked with the Debtor’s management
                                        23
                                             team and CRO to address customer concerns and operational issues resulting from the delay in
                                        24

                                        25

                                        26
                                             2
                                                 See the Court’s Tentative Ruling dated February 21, 2018 [Doc. #146], the Show Cause Order; the Order
                                        27       Denying Debtor Core Supplement Technology, Inc.’s Motion to Approve Sale Free and Clear of Liens and
                                                 Encumbrances, Assumption of Executory Contracts and Leases and Related Relief Without Prejudice
                                        28       [Doc. #179]; and the transcript of the March 8, 2018 hearing [Doc. #184].

                                                                                                 6
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                                             obtaining approval of the proposed sale. Fox also worked closely with the Debtor’s management
                                         1

                                         2   team to create a more robust sale process that would satisfy the Court’s concerns. This included

                                         3   working with the Debtor to identify and contact potential overbidders regarding piecemeal asset sales,

                                         4   re-noticing the sale, and contacting Tiger Capital Group to arrange for a valuation of the Debtor’s
                                         5
                                             assets on a rush basis.
                                         6
                                                      On March 15, 2018, the Debtor, with Fox’s assistance, filed its Response to Order to Show
                                         7
                                             Cause Why Case Should Not Be Converted or Dismissed (the “OSC Response”) [Doc. #187], which
                                         8
                                             addressed many of the issues that the Court had expressed regarding the proposed sale. And on March
                                         9

                                        10   16, 2018, the Debtor, also with Fox’s assistance, filed its Debtor’s Motion for Entry of an Order (1)

                                        11   Approving Stalking Horse, Marketing and Overbid Procedures, and Setting Final Hearing Date; (2)
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                                        12   Approving Sale Free and Clear and Related Relief; (3) Approving Settlement Pursuant to Bankruptcy
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                                        13
                                             Rule 9019; and (4) Approving Assumption and Assignment of Customer Orders (the “Sale Motion”)
                                        14
                                             [Doc. #190] seeking approval of the renegotiated and modified sale agreement (the “APA”). The
                                        15
                                             Court set a hearing on shortened notice for March 21, 2018. It then entered one tentative ruling on
                                        16

                                        17   March 19, 2018 [Doc. #198] and two on March 20, 2018 [Doc. #’s 203 and 204] setting forth detailed

                                        18   questions and concerns regarding the new Sale Motion. Fox assisted the Debtor in formulating

                                        19   responses to all of those questions. Following the hearing, on March 26, 2018, this Court entered an
                                        20   Order approving the Sale Motion (the “Sale Order”) [Doc. #219].
                                        21
                                                      Fox’s extraordinary efforts in this case ultimately resulted in approval of a sale that improved
                                        22
                                             upon the previous $1.1 million offer by $354,000.00, for a final sale price of $1,454,000. The
                                        23
                                             purchase price was comprised of $1.0 million in cash; the forgiveness of $74,000 in ordinary course
                                        24

                                        25   administrative claims held by Simpson; and Simpson's assumption of $380,000 in customer deposit

                                        26   liabilities.

                                        27
                                             ///
                                        28

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                                         1

                                         2                                                        VI.

                                         3                                STATEMENT OF SERVICES RENDERED

                                         4            Fox has classified its services into various billing categories. Following is a summary of the

                                         5   more significant services Fox provided in each category.3

                                         6   A.       Employment Application of Fox Rothschild (EA1)

                                         7            This category includes all time spent drafting and filing Fox’s employment application and

                                         8   addressing questions raised by the U.S. Trustee related to Fox’s employment. During the Application

                                         9   Period, Fox spent 13 hours on this category, accounting for $6,525.50 in fees incurred.

                                        10   B.       Fee Application of Fox Rothschild (FA1)

                                        11            This category includes time spent drafting the Fox fee application. During the Application
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                                        12   Period, Fox spent 8.1 hours on this category, accounting for $2,650.00 in fees incurred.
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                                        13   C.       Use, Sale or Lease of Property (SA)

                                        14            The total time spent in this category was 232.5 hours, accounting for $110,913.50 in fees

                                        15   incurred. To assist in review, discussion of the major components of Fox’s time entries follows.

                                        16            1.      Due Diligence Regarding Sale Issues, Operational Concerns and Legal Questions

                                        17            Fox conducted extensive due diligence on a compressed schedule to address the Court’s

                                        18   numerous, broad-ranging issues relating to the proposed sale, to fully understand the Debtor’s

                                        19   financial health and the legal issues implicated by the proposed sale, and to effectively negotiate an
                                        20   improved sale agreement with Simpson. Among other things, Fox conducted extensive interviews of

                                        21   the Debtor’s management and professionals as well as its lender and the Simpson team. It reviewed

                                        22   numerous filings in the bankruptcy case, including the Initial APA, the Initial Sale Motion, and Initial

                                        23   Sale Order, and all related documents. It reviewed the Debtor’s schedules, relevant status reports, and

                                        24   declarations as well as numerous tentative rulings, transcripts, and orders setting forth the Court’s

                                        25

                                        26
                                             3
                                        27        Some of the services rendered could reasonably be categorized in more than one of the billing categories.
                                                  Consequently, different attorneys sometimes billed their services on the same matter in different
                                        28        categories.

                                                                                                   8
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                                         1   concerns with the case, particularly as they implicated the sale process and questions regarding the

                                         2   Debtor’s ownership of various assets.

                                         3          Time spent in this sub-category represents approximately 15% of the total time billed with

                                         4   respect to the sale process (e.g., roughly 34 hours).

                                         5          2.      Negotiating an Improved APA and Establishing a Robust Sale Process

                                         6          Fox spent substantial time addressing objections to the proposed sale and negotiating a new,

                                         7   more favorable purchase agreement with Simpson. Fox conducted extensive negotiations with

                                         8   Simpson and the Debtor’s secured lender regarding a revised APA. After significant negotiations
                                         9   and numerous proposed revisions to the purchase agreement, these efforts ultimately resulted in a

                                        10   revised APA and a $354,000 increase in value to the estate. In connection with the Initial and Revised

                                        11   APA, and questions raised by the Court, Fox also reviewed and evaluated the Debtor’s Schedules of
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                                        12   Assets and Liabilities, the proposed lists of Included Assets, and the Debtor’s lease agreements to
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                                        13   determine whether assets that the Debtor had previously identified as owned assets were, in fact, true

                                        14   leases or disguised security interests and to advise the Debtor regarding the disposition of those assets

                                        15   in connection with this sale. Fox reviewed and resolved various objections to the Initial Sale Motion,

                                        16   including negotiating with Berlin Packaging to resolve pending issues regarding the sale and removal

                                        17   of property not subject to the Initial APA. Fox also worked with the Debtor’s management team to

                                        18   resolve urgent customer concerns and operational issues resulting from the delay in the initial sale

                                        19   closing that jeopardized the renewed sale effort and to assess conditions precedent to sale closing.

                                        20          Fox also worked closely with the Debtor’s management team to create a more robust sale

                                        21   process that would address the Court’s concerns. This included working with the Debtor to identify

                                        22   and contact potential overbidders regarding piecemeal asset sales, preparing notices to prospective

                                        23   buyers and re-noticing the sale, and contacting Tiger Capital Group to arrange for a valuation of the

                                        24   Debtor’s assets on a rush basis.

                                        25          Time spent in this sub-category represents approximately 37% of the total time billed (e.g.,

                                        26   84 hours).

                                        27

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                                        1          3.      Obtaining Approval of the Revised APA

                                        2          Fox not only prepared an emergency motion to seek approval of the Revised APA, but given

                                        3   the procedural history in the case, Fox was also required to spend significant time addressing the

                                        4   Court’s numerous, wide-ranging concerns regarding the sale, the sale process, and the Debtor’s

                                        5   relationship with Simpson, which concerns had led to denial of the Debtor’s Initial Sale Motion.

                                        6          Fox prepared and filed the Debtor’s Sale Motion on March 16, 2018, as well as motion

                                        7   requesting a hearing on shortened notice. In preparing the motion, Fox worked closely with Simpson,

                                        8   the Debtor, and the Debtor’s secured lender to prepare related exhibits, declarations, and the sale
                                        9   order, obtaining and responding to their comments with respect to various drafts of those documents.

                                       10          Fox handled numerous discrete matters related to the sale motion, such as negotiating and

                                       11   preparing rent stipulations with the Debtor’s landlord needed in order to allow the orderly removal of
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                                       12   the assets being sold to the purchaser; reviewing and revising bid procedures; addressing relief from
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                                       13   stay issues in the context of the sale process and how such relief could implicate certain of the

                                       14   Debtor’s assets; and coordinating with the Debtor and its lead bankruptcy counsel to ensure that the

                                       15   Debtor was prepared to promptly file rejection motions with respect to leases and contracts not

                                       16   included in the Revised APA, thereby reducing administrative expenses against the estate.

                                       17          The Sale Motion was also supported by extensively researched and thorough declarations as

                                       18   well as the OSC Response, which addressed the Court’s many, detailed concerns regarding the sale.

                                       19   The evidentiary support that Fox prepared in support of the Sale Motion included: a Declaration by

                                       20   Ms. Kurth, a Declaration by Joseph O'Dea, a Declaration by Donald Grace, a Declaration by Richard

                                       21   Feferman, the liquidation proposal provided by Tiger Capital, redlines of the APA and its exhibits,

                                       22   an updated preliminary analysis of distribution scenarios, a Declaration by Stephen C. Hinze, and the

                                       23   Debtor's firm B-26 Periodic Report Regarding Value, Operations and Profitability of Entities in which

                                       24   the estate has sustained a controlling interest. As noted above, the issues that Fox was required to

                                       25   address included the negotiating history between Simpson and the Debtor, explaining changes in the

                                       26   purchase price at various points prior to Fox’s involvement; the prepetition and postpetition business

                                       27   dealings between the Debtor and Simpson, explaining the nature of the Debtor’s operations and

                                       28   whether its relationship with Simpson had been beneficial to the estate; and detailed information

                                                                                              10
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                                        1   regarding customer deposits, outsourcing payments, and the assets included in the sale. Fox also

                                        2   worked with the Debtor to prepare and file the liquidation analysis requested by the Court to

                                        3   demonstrate how the sale proceeds would benefit the Debtor’s estate and creditors. Fox also ensured

                                        4   that the declarations addressed questions regarding the sale process, explaining how the Debtor went

                                        5   about soliciting bids for piecemeal assets, its renewed efforts to notice potential overbidders, and the

                                        6   valuation estimates that it had obtained from Tiger Capital.

                                        7          The court issued three tentative rulings with detailed questions and concerns regarding the

                                        8   new Sale Motion, and Fox worked with the Debtor’s management team to research and formulate
                                        9   responses to all of those additional questions. Fox prepared for and attended the hearings with respect

                                       10   to the Sale Motion where it successfully obtained approval of the sale. Finally, Fox prepared the

                                       11   associated Sale Order, which was heavily negotiated by both the Debtor’s secured lender and
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                                       12   Simpson.
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                                       13          Time spent in this sub-category represents approximately 41% of the total time billed (e.g.,

                                       14   roughly 93 hours).

                                       15          4.      The Order to Show Cause.

                                       16          The response to the Show Cause Order and Court’s concerns with the Initial Sale Motion

                                       17   overlapped on many issues including, inter alia, fleshing out the Debtor’s relationship with Simpson

                                       18   and the appropriate sale price based on the same, formulating a sale that would generate enough cash

                                       19   to allow for a distribution to unsecured creditors, and addressing issues raised in the Court’s Tentative

                                       20   Rulings. Accordingly, to avoid duplication of effort between Fox and the Debtor’s lead bankruptcy

                                       21   counsel, Fox prepared and filed the response to the Show Cause Order and appeared telephonically

                                       22   at the hearing which was held concurrently with the sale hearing, as well as the continued hearing and

                                       23   status conference at which the Court requested an update regarding the closing. The time spent in

                                       24   this category represents approximately 7% of the total time billed (e.g., roughly 16 hours).

                                       25                                                     VII.

                                       26                               SUMMARY OF COSTS AND EXPENSES

                                       27          Westlaw expenses are charged at the rates customarily applied to Fox's non-debtor clients.

                                       28   Fox incurred $211.49 in expenses for Westlaw research. Fox used First Legal Digital for copying

                                                                                                11
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                                        1   and service, at rates consistent with those customarily charged to Fox’s non-debtor clients. Fox

                                        2   incurred $5,241.94 in expenses for copying and service.

                                        3

                                        4                                                   VIII.

                                        5                            NOTICE OF APPLICATION AND HEARING

                                        6          Fox has served a copy of this application on the Office of the United States Trustee, and the

                                        7   Chapter 7 trustee and his counsel. All creditors and other parties required to be served in compliance

                                        8   with Federal Rule 2002(a)(6) will be served by the Chapter 7 trustee in accordance with Local
                                        9   Bankruptcy Rule 2016-1.

                                       10                                                    IX.

                                       11                                             CONCLUSION
10250 Constellation Blvd., Suite 900




                                       12          Fox believes that the services rendered for which compensation is sought in this application
     FOX ROTHSCHILD LLP

     Los Angeles, CA 90067
     (310) 598-4150 (phone)
       (310) 556-9828 (fax)




                                       13   have been beneficial to the estate, that the costs incurred have been necessary and proper, and that

                                       14   the sums requested for the services rendered and the costs incurred are fair and reasonable. The

                                       15   compensation and reimbursement of expenses sought in this Application is final. Fox seeks fees and

                                       16   reimbursement of the expenses incurred for the totality of the services rendered in this case.

                                       17          WHEREFORE, Fox respectfully requests that this Court enter an order allowing its request

                                       18   for $125,542.43 in final compensation relating to $120,089.00 in services rendered and $5,453.43 in

                                       19   expenses incurred from March 9, 2018 through and including August 13, 2018.

                                       20

                                       21   Dated October 9, 2018

                                       22                                                 FOX ROTHSCHILD LLP
                                       23                                             By: /s/ Mette H. Kurth
                                       24                                                METTE H. KURTH (CA 187100, DE 6491)
                                                                                         Special Counsel for the Debtor
                                       25

                                       26

                                       27

                                       28

                                                                                               12
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                                 EXHIBIT 1
Biography | Mette H. Kurth                                                                                                      Page 1 of 2
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                                                               75




Mette H. Kurth, Partner
                           Mette represents clients facing complex, financially distressed situations       PRACTICE AREAS

                           and bankruptcy issues. Named one of California’s leading bankruptcy
                                                                                                            ●   Financial Restructuring &
                           and restructuring attorneys by Chambers USA, Mette has a reputation for
                                                                                                                Bankruptcy
                           providing unwavering and dogged representation in sophisticated
                                                                                                            ●   Bankruptcy Trustee
                           workouts, restructurings, distressed M&A transactions and bankruptcy
                                                                                                            ●   Appellate Practice
                           matters to help ensure her clients attain the best possible outcome.
                                                                                                            ●   Bankruptcy Litigation
                           Clients hailing from a range of industries – retail, restaurant, hospitality,
                           agriculture, fitness, financial services, health care, real estate, and media
                           and entertainment – praise Mette’s skill in the insolvency world, referring      BAR ADMISSIONS
                           to her as “a pit bull in heels” and a “rock-hard…negotiator.” Others note
                           Mette is:                                                                        ●   Delaware
                                                                                                            ●   California
                              ●
                                  “Very direct, has a plan of action and goes on the attack with it.”
Mette H. Kurth
                              ●
                                  “A dynamic attorney. She is smart and thinks outside the box.”
Partner
                              ●
                                  “Professional, articulate and one of the brightest bankruptcy
                                  attorneys I know.”                                                        COURT ADMISSIONS
mkurth@foxrothschild.com
                              ●   “An extremely skilled bankruptcy attorney who has the ideal
                                                                                                            ●   U.S. Bankruptcy Court, Central
Wilmington, DE                    balance of being technically skilled and practically balanced,
                                                                                                                District of California
Tel: 302.622.4209                 always with one eye on delivering value to her clients.”
Fax: 302.656.8920
                                                                                                            ●   U.S. Bankruptcy Court, Eastern
                              ●
                                  A “tireless and creative” advocate.
                                                                                                                District of California
Los Angeles, CA               ●
                                  “Particularly effective and rare as an attorney due to her experience     ●   U.S. Bankruptcy Court, Southern
Tel: 310.228.4402                 and people skills in navigating tricky distressed investing deals.”
Fax: 310.556.9828                                                                                               District of California

                           Utilizing her razor-sharp business acumen and a practical approach to
                                                                                                            ●   U.S. District Court, Northern

                           her clients’ financial challenges, Mette represents debtors, creditors,              District of California

                           investors, creditor committees and other parties in all areas of
                           reorganization, distressed sales and acquisitions, liquidations and
                           bankruptcy-related litigation.                                                   EDUCATION

                           With a high degree of emotional intelligence, Mette also possesses a             ●   University of California, Los
                           keen ability to adeptly and effectively manage the most challenging                  Angeles (J.D., 1996)
                           people and situations that often arise in bankruptcy. With this trait, she       ●   Trinity University (B.A., cum laude,
                           has gained a reputation for successfully and smoothly handling                       1990)
                           confrontational negotiations in her client representations.


                                                                                                            MEMBERSHIPS

                           Before Fox Rothschild                                                            ●   Turnaround Management
                           Mette has practiced at various pre-eminent bankruptcy boutiques and                  Association
                           national law firms before joining Fox Rothschild. Before practicing law,             ∠ Executive Committee Member
                           Mette was a Bank Liquidation Specialist with the Federal Deposit                        and Vice President of
                           Insurance Corporation.                                                                  Conferences (2016)
                                                                                                                ∠ Executive Committee Member
                                                                                                                   & Vice President of
                           Beyond Fox Rothschild
                                                                                                                   Membership (2013)
                           Mette is deeply involved with the national Turnaround Management
                                                                                                                ∠ National Board of Directors &
                           Association. She currently serves on its Executive Committee and as Vice                Member of Various
                           President of Conferences. Previously she served as Vice President of                    Committees (2008-present)
                           Communications and a member of its Board of Directors.                               ∠ President, Officer & Board
                                                                                                                   Member, Southern California
                           Dedicated to community service, Mette has been actively involved in
                                                                                                                   Chapter (2004-2008)
                           numerous community efforts. She assisted the Jubilee Campaign in
                                                                                                            ●   American Bankruptcy Institute
                           raising funds through its Education After Escape campaign to assist the
                                                                                                            ●   American Bar Association




https://www.foxrothschild.com/mette-h-kurth/                                                                                        6/29/2018
Biography | Mette H. Kurth                                                                                                                                                            Page 2 of 2
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                                                      Nigerian schoolgirls who escaped from their Boko Haram kidnappers in                                               Los Angeles Bankruptcy Forum
                                                      seeking refuge in the United States, where they have obtained                                                  ●   International Women’s Insolvency
                                                      scholarships to continue their education in safety.                                                                & Restructuring Confederation
                                                                                                                                                                         (IWIRC)
                                                      Additionally, she previously served as a member of the resource board of
                                                      Sojourn Shelter, which provides battered women and children a safe
                                                      space to regroup, rebuild and re-establish their self-esteem and lives. In
                                                      2008, she helped raise more than $25,000 for the Avon Walk for Breast
                                                      Cancer. And in 2003, Mette's family was recognized by the City of Los
                                                      Angeles as the North Hollywood YMCA's "Family of the Year" in
                                                      recognition of the assistance they provided to the financially troubled
                                                      North Hollywood facility and their successful efforts to prevent the                                           ●


                                                      closure of the highly respected YMCA preschool.


                                                      Client Resources

                                                      The Bottom Line – A Business Bankruptcy Blog. In Plain
                                                      English.
                                                      Bottom line threats and opportunities come in many shapes and sizes.
                                                      This blog cuts through the legalese to provide you with information
                                                      about important business bankruptcy issues and developments that can
                                                      help protect your bottom line.

                                                      View Blog


                                                      Honors & Awards
                                                           ●
                                                               Named as one of the leading Bankruptcy/Restructuring attorneys
                                                               in California by Chambers USA (2013-2014, 2016-2018)
                                                           ●
                                                               Named among "The Best Lawyers in America" in the area of
                                                               Bankruptcy and Creditor Debtor Rights/ Insolvency and
                                                               Reorganization Law (2009-2018)
                                                           ●
                                                               Named in Southern California SuperLawyers (2009-2018)
                                                           ●
                                                               Named in Southern California Women's Edition SuperLawyers
                                                               (2017-2018)
                                                           ●
                                                               Named in Super Lawyers “Top Female Attorneys” in Southern
                                                               California (2015-2017)
                                                           ●
                                                               Los Angeles Business Journal’s Women Making a Difference Award
                                                               Nominee (2015)
                                                           ●
                                                               Recognized by The Daily Journal as One of the Top Women
                                                               Lawyers in California (2011, 2012 and 2013)
                                                           ●
                                                               Recipient of the “Transaction of the Year: Mid-Sized Company”
                                                               award by the Turnaround Management Association in connection
                                                               with her representation of the Contessa creditors’ committee (2012)
                                                           ●
                                                               Received M&A Advisor's “Turnaround Award of the Year Award –
                                                               Lower Middle Market” in connection with her representation of The
                                                               Walking Company




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https://www.foxrothschild.com/mette-h-kurth/                                                                                                                                              6/29/2018
Biography | Kasey DeSantis                                                                                                                                                               Page 1 of 1
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Kasey DeSantis, Associate
                                                      Kasey handles a range of litigation matters.                                                                   PRACTICE AREAS

                                                                                                                                                                     ●   Litigation
                                                                                                                                                                     ●   Family Law
                                                      Before Fox Rothschild
                                                      Kasey was a summer associate at Fox Rothschild, where she provided
                                                      research and other assistance related to family law, real estate, corporate                                    BAR ADMISSIONS
                                                      and trusts and estate matters.
                                                                                                                                                                     ●   Delaware
                                                      She also previously served as a law clerk at a law firm in Wilmington and                                      ●   New Jersey
                                                      as a Spanish interpreter at a firm in Allentown, Pa.


                                                      Beyond Fox Rothschild
                                                                                                                                                                     EDUCATION
                                                      Kasey is an avid runner and has completed the Boston, Philadelphia and
Kasey DeSantis                                                                                                                                                       ●   Widener University School of Law
                                                      Richmond marathons.
Associate                                                                                                                                                                (J.D., 2013)
kdesantis@foxrothschild.com                                                                                                                                          ●   Muhlenberg College (B.A., cum
                                                                                                                                                                         laude, 2010)
Wilmington, DE
Tel: 302.622.4205
Fax: 302.656.8920


; ŗ




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https://www.foxrothschild.com/kasey-desantis/                                                                                                                                             6/29/2018
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                                                            75




                                  L. John Bird1
                                  Associate

                                  Wilmington, DE
                                  Tel: 302.622.4263
                                  Fax: 302.656.8920

                                  lbird@foxrothschild.com




Throughout his career, John has dedicated his practice to representing clients in corporate restructuring and complex
bankruptcy matters, specifically the Chapter 11 process. His diverse experience also extends to commercial
bankruptcy, restructurings, insolvencies, liquidations, commercial litigation and preference and fraudulent conveyance
litigation matters.

John’s wide range of clients – which includes debtors, creditors’ committees, trustees, unsecured creditors, financial
institutions, purchasers and litigants in federal and state courts – rely on his strategic counsel to help navigate the
complex issues and sensitivities surrounding bankruptcy cases. He has handled matters for clients in the automotive,
technology, real estate and manufacturing industries.

Among the matters John has handled, he has served as:

         Debtor’s Delaware counsel in the iGPS bankruptcy.
         Debtors’ counsel in the Coda Automotive bankruptcy (7 debtors).
         Counsel to numerous preference defendants in cases including, but not limited to, DBSI, Buffets, NewPage,
          Fujitsu, WL Homes, and DHP Holdings.
         Counsel to the Litigation Trust in the CRC Parent Corporation bankruptcy.

In addition to his restructuring practice, John also handles matters before the Delaware Court of Chancery – widely
considered the preeminent forum for resolving disputes involving internal affairs of Delaware corporations and other
business entities – representing individuals and business organizations litigating over the provision of equitable relief.

Before Fox Rothschild

Prior to joining the firm, John handled complex bankruptcy matters as a bankruptcy associate with a Delaware-based
law firm. He was also a summer associate with a regional firm in Philadelphia where he assisted in a real estate
investment trust (REIT) security offering involving more than 20 properties.

While in law school, John interned with the Philadelphia Volunteer Lawyers for the Arts, assisting low-income artists
with intellectual property law issues. He also served as technology editor and associate editor for the university’s
Journal of Business Law.


1   L. John Bird is no longer associated with Fox Rothschild LLP
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Client Resources

Delaware Bankruptcy Litigation Blog
John shares his knowledge of Delaware bankruptcy proceedings in a blog entitled, "Delaware Bankruptcy Litigation."
He offers his take on corporate bankruptcy proceedings not only in Delaware but throughout the United States, as well
as industry insight on topics such as preference litigation, tenant bankruptcy and defending avoidance litigation.
View Blog

A Preference Reference: Common Issues that Arise in Delaware Preference Litigation
Under Chapter 5 of the Bankruptcy Code, a trustee, debtor or assignee of the debtor may recover payments made by
the debtor during the ninety days prior to the commencement of a bankruptcy proceeding. The policy behind allowing
plaintiffs to bring preference claims is twofold: (i) to discourage creditors from aggressive attempts at collecting from a
debtor and (ii) to distribute assets evenly among all creditors by recovering payments that constitute “avoidable
transfers.”
Download ebook (PDF file)

Practice Areas

        Financial Restructuring & Bankruptcy
        Cannabis Law

Bar Admissions

        Delaware
        Oregon
        Washington

Court Admissions

        U.S. District Court, District of Delaware
        U.S. Court of Appeals, Third Circuit

Education

        University of Pennsylvania Law School (J.D., 2009)
        University of Pennsylvania Wharton School (Certificate in Business and Public Policy, 2009)
        University of Washington (B.A., 2006)




Publications
December 12, 2014
You Don’t Get 3 Strikes When Filing A Complaint
Law360

July 2012
A Preference Reference: Common Issues that Arise in Delaware Preference Litigation
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August 31, 2011
Deficient Amended Complaint -- Denied
Law 360

Fall 2008
Stockholder and Corporate Board Bylaw Battles: Delaware Law and the Ability of a Corporate Board To Change
or Overrule Stockholder Bylaw Amendments
University of Pennsylvania Journal of Business and Employment Law



News
September 15, 2017
E-Cig Trustee Taps Cozen As GC, Fox Rothschild In D&O Case
Law360

October 22, 2015
Looking a ‘Gift’ Horse in the Mouth: The Latest on Section 363
All About Alpha
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                                                              75




                                   Meg M. Manning
                                   Associate

                                   Wilmington, DE
                                   Tel: 302.622.4215
                                   Fax: 302.656.8920

                                   mmanning@foxrothschild.com




Meg is a seasoned bankruptcy and financial restructuring attorney. She combines more than a decade of experience
handling national bankruptcy cases with firsthand knowledge of turnaround management consulting.

Her extensive record of corporate bankruptcy and restructuring work includes representing debtors, creditors, financial
institutions, secured lenders, landlords, official and unofficial committees, liquidating trusts and other significant entities
in national bankruptcy cases spanning chapters 7, 11 and 13.

Meg also served as in-house counsel for a Delaware-based restructuring and turnaround management consulting firm,
where she handled employment and other operating matters and collaborated with outside counsel while acting on
behalf of trusts and trustees on all post-confirmation trust representations.

Before Fox Rothschild

Prior to joining Fox, Meg was director of business development and legal services at the American Stock Transfer &
Trust Company (AST) and Donlin Recano & Company, an AST subsidiary. Meg also worked as senior director and in-
house counsel for a turnaround management consulting firm. She was previously an attorney at various law firms in
Wilmington, including one for which she helped to establish its Delaware office and served as managing attorney.

Beyond Fox Rothschild

Meg serves as guardian ad litem to children in foster care in Delaware Family Court. She also volunteers with several
local organizations, including:

    •    Emmanuel Dining Room
    •    Alzheimer's Association, Delaware Valley Chapter
    •    Garage Community Center
    •    LaMacha Animal Rescue
    •    The Money School

Honors & Awards

    •    Named a Top Woman in Litigation by Benchmark Litigation (2014)
    •    Named among Future Stars in Delaware by Benchmark Litigation (2009)
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Practice Areas

   •   Financial Restructuring & Bankruptcy

Bar Admissions

   •   Delaware

Court Admissions

   •   U.S. District Court, Eastern District of Pennsylvania

Education

   •   University of Baltimore School of Law (J.D., 2000)
   •   LeMoyne College (B.S., 1993)

Memberships

   •   Delaware Bar Association
   •   Delaware Bankruptcy Inn of Court
   •   Pennsylvania Bar Association
   •   American Bar Association
   •   International Women’s Insolvency & Restructuring Confederation
            o    Delaware Network, former Secretary, Vice Chair & Chair
            o    Delaware Community Services Initiative Committee, Founder & Co-Chair
            o    National Board, Former Member
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                                                           75




                                 Courtney A. Emerson
                                 Associate

                                 Wilmington, DE
                                 Tel: 302.622.4204
                                 Fax: 302.656.8920

                                 cemerson@foxrothschild.com




Courtney represents clients in a wide range of commercial and civil litigation matters as well as environmental matters.
Additionally, she has experience helping clients navigate financial restructuring and bankruptcy.

Before Fox Rothschild

Courtney previously served as a summer associate at Fox Rothschild, drafting motions, pleadings, letters and
memoranda as well as conducting legal research in a variety of practice areas, including litigation, real estate, corporate
and bankruptcy.

She also worked as an emergency manager for nearly a decade, where she provided technical advice in broad areas of
emergency management planning, formulated and analyzed policies in accordance with state and federal regulations,
provided directions and management on planning activities on a statewide basis, drafted contracts, developed
procurement strategies and planned for statewide communications interoperability.

While in law school, Courtney was a judicial extern in the Delaware Court of Common Pleas. She also was a member
of the Delaware Journal of Corporate Law.

Prior to law school, she was a communications supervisor for the Wilmington Police Department, a volunteer
firefighter/EMT and an educator for a multinational banking and financial services corporation.

Beyond Fox Rothschild

Courtney is an appointed member of the American Bar Association’s Disaster Legal Services Team, which works with
the Federal Emergency Management Agency (FEMA) to provide immediate temporary legal assistance to disaster
survivors at no charge.

Honors & Awards

    •    Recipient of the American College of Bankruptcy Distinguished Law Student for the Third Circuit (2015)

Practice Areas

    •    Litigation
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   •   Environmental
   •   E-Discovery

Bar Admissions

   •   Delaware
   •   Pennsylvania
   •   New Jersey

Court Admissions

   •   U.S. District Court, District of Delaware
   •   U.S. District Court, District of New Jersey
   •   U.S. District Court, Eastern District of Pennsylvania

Education

   •   Widener University School of Law (J.D., magna cum laude, 2014)
   •   University of Delaware (B.A., 2005)

Memberships

   •   American Bar Association
   •   American Bar Association Disaster Legal Services Team
   •   Delaware State Bar Association
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Joseph G. DiStanislao
Paralegal

Philadelphia, PA
Tel: 215-299-2058

jdistanislao@foxrothschild.com

PROFESSIONAL EXPERIENCE:

       Fox Rothschild LLP – Philadelphia, PA
       Bankruptcy Paralegal
       2003 – Present

       CT Corporation – Philadelphia, PA
       Corporate Consultant
       1999 – 2003

       Dessen, Moses & Sheinoff – Philadelphia, PA
       Bankruptcy Paralegal
       1991 – 1999

MEMBERSHIPS/AWARDS:
       Philadelphia Bar Association; Fox Rothschild LLP – Diversity Committee; Gay Games
       2014 – Cleveland; Gay Games 2018 – Paris; Bella Vista Neighborhood Association
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Patricia Chlum
Paralegal

Las Vegas, NV
Tel: 702-699-5909

pchlum@foxrothschild.com

PROFESSIONAL EXPERIENCE:

       April, 2010 – Present: Fox Rothschild LLP – Las Vegas, NV
       Paralegal, Bankruptcy

       July, 2008 – April, 2010 Greenberg Traurig – Las Vegas, NV
       Paralegal, Bankruptcy

       Sept 1, 2007-July, 2008 Lewis & Roca – Las Vegas, NV
       Paralegal, Bankruptcy

       Sept. 2001 – Sept. 1, 2007 Beckley Singleton Ltd. – Las Vegas, NV
       Paralegal, Bankruptcy

       June, 2000 - Sept. 2001 McDonald Carano Wilson – Las Vegas, NV
       Legal Assistant, Bankruptcy

       Sept. 1999 – June, 2000 Gordon Silver – Las Vegas, NV
       Legal Assistant, Bankruptcy

       April 1994 - Sept. 1999 Griffith Laboratories Worldwide – Alsip, IL
       Paralegal, Corporate/Transactional

       April 1993 – April 1994 Homart Development – Chicago, IL
       Paralegal, Real Estate

       August 1987 – April, 1993 Sonnenschein Nath and Rosenthal – Chicago, IL
       Legal Assistant/Paralegal Internship

EDUCATION:
       American Institute for Paralegal Studies, Oak Brook, Illinois, Paralegal Certificate, 1987
       DePaul University, Chicago, Illinois courses toward Bachelor’s Degree, 1995
       National Association of Legal Assistants, Certified Paralegal Certificate, 2001
       Advanced Paralegal Certificate, 2009
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Ian D. Densmore
Paralegal

Wilmington, DE
Tel: 302-622-4271

idensmore@foxrothschild.com

PROFESSIONAL EXPERIENCE:
       Fox Rothschild LLP – Wilmington, DE
       Bankruptcy & Litigation Paralegal
       2014 – Present

       Elliott Greenleaf – Wilmington, DE
       Paralegal
       March 2018 to July 2014

       Paul, Weiss, Rifkind, Wharton & Garrison – Wilmington, DE
       Paralegal
       August 2011 to February 2013

       McCarter & English – Wilmington, DE
       Paralegal
       December 2007 to August 2011

       Whittington & Aulgur – Wilmington, DE
       Paralegal
       February 2002 to November 2007

       U.S. Bankruptcy Court for the District of Delaware – Wilmington, DE
       Case Administrator, Intake Clerk
       November 1998 to February 2002

EDUCATION:
       1996 Bachelor of Arts in History, University of Delaware
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                                 EXHIBIT 2
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                  Citizens Bank Center 919 North Market Street, Suite 300 P.O. Box 2323 Wilmington, DE 19899-2323
                                      Tel 302.654.7444 Fax 302.656.8920 www.foxrothschild.com



                                                                                             TAX I.D. NO. XX-XXXXXXX


       RICHARD FEFFERMAN                                                        Invoice Number                         ******
       CORPORATE RECOVERY ASSOCIATES LLC                                        Invoice Date                        10/08/18
       3830 VALLEY CENTER DRIVE, STE. 705-152                                   Client Number                        177999
       SAN DIEGO, CA 92130                                                      Matter Number                         00001


RE: SPECIAL COUNSEL / CHAPTER 11


FOR PROFESSIONAL SERVICES RENDERED THROUGH 08/31/18:

Date       Attorney                   Task          Description                                    Hours             Amount
03/12/18   KURTH                      EA1           PREPARE                                            0.2           $130.00
                                                    CORRESPONDENCE TO
                                                    M.MANNING, J.BIRD AND
                                                    I.DENSMORE RE
                                                    PREPARATION OF FOX
                                                    EMPLOYMENT APPLICATION
                                                    AND FULL CONFLICTS /
                                                    CONNECTIONS SEARCH
03/12/18   KURTH                      EA1           PREPARE                                            0.2           $130.00
                                                    CORRESPONDENCE TO
                                                    M.MANNING RE
                                                    PREPARATION OF
                                                    EMPLOYMENT APPLICATION
03/13/18   BIRD                       EA1           ASSIST IN COLLECTING                               0.8           $344.00
                                                    INFORMATION FOR FOX
                                                    RETENTION APPLICATION
03/19/18   DISTANISLAO                EA1           PREPARE EMPLOYMENT                                 2.0           $730.00
                                                    APPLICATION
03/19/18   MANNING                    EA1           REVIEW RETENTION                                   0.3           $121.50
                                                    APPLICATION
03/21/18   KURTH                      EA1           REVIEW AND FINALIZE FOX'S                          1.0           $650.00
                                                    EMPLOYMENT APPLICATION
                                                    AND DECLARATIONS FOR
                                                    M.KURTH AND R.FEFERMAN
03/22/18   DESANTIS                   EA1           EMAIL WITH M. KURTH AND J.                         0.6           $216.00
                                                    DISTANISLAO RE:
                                                    APPLICATION TO ORDER
                                                    APPROVING EMPLOYMENT OF
                                                    FOX ROTHSCHILD AS
                                                    SPECIAL COUNSEL
03/22/18   KURTH                      EA1           REVIEW AND RESPOND TO                              0.1             $65.00
                                                    CORRESPONDENCE FROM
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Date       Attorney         Task      Description                       Hours      Amount
                                      J.DISTANISLAO RE
                                      EMPLOYMENT APPLICAITON,
                                      NOTICE, DECLARATIONS
03/22/18   MANNING          EA1       REVIEW REVISED RETENTION            0.9      $364.50
                                      APPLICATION AND
                                      PROPOSED ORDER THERETO
03/23/18   KURTH            EA1       REVIEW ORDER RE FOX                 0.1       $65.00
                                      ROTHSCHILD'S FEE
                                      APPLICATION
03/29/18   KURTH            EA1       TELEPHONE CONFERENCE                0.4      $260.00
                                      WITH R.FEFERMAN RE FOX
                                      EMPLOYMENT APPLICATION
03/29/18   KURTH            EA1       CONFER WITH M.MANNING RE            0.2      $130.00
                                      FOX EMPLOYMENT
                                      APPLICATION AND UST
                                      COMMENTS RE SAME
03/29/18   MANNING          EA1       CONFER WITH D. ORTIZ RE:            0.4      $162.00
                                      FOX EMPLOYMENT
                                      APPLICATION
03/29/18   MANNING          EA1       CONFER WITH M. KURTH RE:            0.2       $81.00
                                      FOX EMPLOYMENT
                                      APPLICATION
03/29/18   MANNING          EA1       MAKE FINAL EDITS TO FOX             0.4      $162.00
                                      EMPLOYMENT APPLICATION
                                      AND FACILITATE FILING AND
                                      SERVICE
03/30/18   KURTH            EA1       REVIEW AND REVISE CORE              0.3      $195.00
                                      ENGAGEMENT LETTER
03/30/18   KURTH            EA1       REVIEW AND FINALIZE                 3.0     $1,950.00
                                      SUPPLEMENT TO FOX
                                      ROTHSCHILD'S EMPLOYMENT
                                      APPLICATION WITH
                                      SUPPORTING EXHIBITS,
                                      DECLARATIONS
03/30/18   MANNING          EA1       DRAFT SUPPLEMENTAL                  1.0      $405.00
                                      INFORMATION FOR
                                      RETENTION APPLICATION
03/30/18   MANNING          EA1       FACILITATE FILING AND               0.5      $202.50
                                      SERVICE OF SUPPLEMENTAL
                                      INFORMATION FOR
                                      RETENTION
04/03/18   MANNING          EA1       REVIEW ORDER APPROVING              0.2       $81.00
                                      FOX ROTHSCHILD RETENTION
04/03/18   MANNING          EA1       REVIEW ORDER CONVERTING             0.2       $81.00
                                      CASE
07/09/18   DENSMORE         FA1       REVISIONS TO FOX FINAL FEE          0.8      $232.00
                                      APPLICATION PER REVISIONS
                                      TO DRAFT INVOICE
07/11/18   DENSMORE         FA1       FURTHER REVISIONS TO                0.7      $203.00
                                      FOX'S FINAL FEE
                                      APPLICATION PER

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Date       Attorney         Task      Description                       Hours      Amount
                                      COMMENTS FROM M. KURTH
07/16/18   DENSMORE         FA1       FURTHER REVISIONS TO FOX            0.7      $203.00
                                      ROTHSCHILD'S FINAL FEE
                                      APPLICATION
07/25/18   DENSMORE         FA1       FURTHER REVISIONS TO FOX            0.5      $145.00
                                      ROTHSCHILD'S FINAL FEE
                                      APPLICATION PER
                                      COMMENTS FROM M. KURTH
07/30/18   DENSMORE         FA1       ASSIST WITH ADDITIONAL              0.2       $58.00
                                      REVISIONS TO FOX
                                      ROTHSCHILD'S FINAL FEE
                                      APPLICATION
08/07/18   CHLUM            FA1       REVIEW EMAIL FROM M.                0.2       $59.00
                                      KURTH AND DRAFT OF FINAL
                                      FEE APPLICATION.
08/07/18   EMERSON          FA1       CORRESPONDENCE WITH M.              0.1       $35.00
                                      KURTH AND P. CHLUM RE:
                                      FOX FEE APPLICATION
08/08/18   EMERSON          FA1       REVIEW FOX FEE                      0.2       $70.00
                                      APPLICATION; PREPARE FOR
                                      FILING
08/08/18   EMERSON          FA1       CORRESPONDENCE WITH K.              0.1       $35.00
                                      DESANTIS AND M. KURTH RE:
                                      FIRST LEGAL INVOICE
08/09/18   EMERSON          FA1       CORRESPONDENCE WITH K.              0.8      $280.00
                                      DESANTIS AND M. KURTH RE:
                                      FIRST LEGAL INVOICE;
                                      REVIEW INVOICE AND FEE
                                      APPLICATION
08/13/18   EMERSON          FA1       CORRESPONDENCE WITH K.              0.4      $140.00
                                      DESANTIS AND M. KURTH RE:
                                      FIRST LEGAL INVOICE;
                                      REVIEW INVOICE
08/13/18   EMERSON          FA1       CORRESPONDENCE WITH M.              0.3      $105.00
                                      KURTH RE: FEE APPLICATION
08/13/18   EMERSON          FA1       PREPARE FEE APPLICATION             1.6      $560.00
08/13/18   EMERSON          FA1       CORRESPONDENCE WITH S.              0.2       $70.00
                                      MULLEN RE: FEE
                                      APPLICATION
08/13/18   EMERSON          FA1       CORRESPONDENCE WITH M.              0.2       $70.00
                                      KURTH, G. SLATER, AND D.
                                      ORTIZ RE: FEE APPLICATION
08/13/18   EMERSON          FA1       CORRESPONDENCE WITH M.              0.2       $70.00
                                      KURTH RE: FEE APPLICATION
08/13/18   EMERSON          FA1       CORRESPONDENCE WITH M.              0.2       $70.00
                                      KURTH AND P. CHLUM RE:
                                      FEE APPLICATION
08/13/18   EMERSON          FA1       CALL WITH R. FEFERMAN RE:           0.1       $35.00
                                      FEE APPLICATION


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Date       Attorney         Task      Description                       Hours      Amount
08/13/18   EMERSON          FA1       REVIEW DOCKET;                      0.4      $140.00
                                      CORRESPONDENCE WITH G.
                                      SLATER RE: NOTICING OF FEE
                                      APPLICATION
08/13/18   EMERSON          FA1       CORRESPONDENCE WITH M.              0.2       $70.00
                                      KURTH RE: FEE APPLICATION
                                      EXHIBITS
03/10/18   KURTH            SA        TELEPHONE CONFERENCE                0.0   NO CHARGE
                                      WITH R.FEFFERMAN AND
                                      A.RHIM RE PENDING SALE,
                                      ISSUES, PATH FORWARD
03/10/18   KURTH            SA        TELEPHONE CONFERENCE                0.0   NO CHARGE
                                      WITH R.FEFFERMAN RE OSC
                                      PENDING SALE, CASE
                                      BACKGROUND, ISSUES, PATH
                                      FORWARD
03/11/18   KURTH            SA        VARIOUS CONFERENCE                  0.0   NO CHARGE
                                      CALLS WITH R.FEFFERMAN
                                      RE PENDING SALE, CASE
                                      BACKGROUND, ISSUES, PATH
                                      FORWARD
03/11/18   KURTH            SA        TELEPHONE CONFERENCE                0.0   NO CHARGE
                                      WITH R.FEFFERMAN (M.
                                      YOUNG, BUYERS COUNSEL)
                                      AND J. O'DEA RE PENDING
                                      SALE, ISSUES, PATH
                                      FORWARD
03/12/18   KURTH            SA        TELEPHONE CONFERENCE                0.5      $325.00
                                      WITH R. FERRERMAN RE
                                      CASE BACKGROUND AND
                                      SALE MOTION
03/12/18   KURTH            SA        REVIEW DOCKET AND                   1.0      $650.00
                                      IDENTIFY DOCUMENTS
                                      NEEDED TO ADDRESS SALE
                                      MOTION AND FEE
                                      BACKGROUND
03/12/18   KURTH            SA        REVIEW ORDERS ON STATUS             0.1       $65.00
                                      CONFERENCE 10/11/17 #8,
                                      10/11/17 #7
03/12/18   KURTH            SA        REVIEW ORDER ON STATUS              0.1       $65.00
                                      CONFERENCE 10/11/17 #7
03/12/18   KURTH            SA        CONFER WITH M.MANNING RE            0.3      $195.00
                                      BID PROCEDURES, SALES
                                      AND MARKETING EFFORTS,
                                      ADDITIONAL EFFORTS
                                      NEEDED IN RESPONSE TO
                                      COURT'S CONCERNS -
                                      ADDITIONAL REACH OUT BY
                                      R.FEFERMAN TO BIDDERS,
                                      POSTING NOTICES OF SALES
                                      IN WHOLE OR LOTS ON
                                      MARKETING WEBSITES,
                                      TIGER BID AND ESTIMATES,
                                      AND POSTINGS ON COURT

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Date       Attorney         Task      Description                       Hours      Amount
                                      WEBSITE
03/12/18   KURTH            SA        REVIEW OF CASH                      0.5      $325.00
                                      COLLATERAL MOTION,
                                      EXHIBIT A AND SUPPORTING
                                      DECLARATION #9; UST
                                      OPPOSITION TO CASH
                                      COLLATERAL MOTION #17;
                                      STIPULATION RE USE OF
                                      CASH COLLATERAL #18 AND
                                      UST OBJECTION #22;
                                      MINUTES ORDER RE USE OF
                                      CASH COLLATERAL #28;
                                      STIPULATION TO CONTINUE
                                      HEARING #36; 2ND AMENDED
                                      CASH COLLATERAL MOTION
                                      #49; TENTATIVE CASH
                                      COLLATERAL RULING #54;
                                      CORE REPLY TO BOFA
                                      OBJECTION #56; STIPULATION
                                      RE CONTINUANCE #32;
                                      NOTICE OF HEARING #34;
                                      TENTATIVE RULING RE SAME
                                      #35; MINUTE ORDER RE SAME
                                      #37 AND #46; BOFA
                                      OPPOSITION TO 2ND CASH
                                      COLLATERAL MOTION #52;
                                      REPLY TO SAME #55; O'DEA
                                      DECLARATION RE SAME #56;
                                      STIPULATION TO
                                      CONTINUANCE HEARING #96;
                                      MINUTE ORDER #65; NOTICE
                                      OF CONTINUED HEARING #68;
                                      STIPULATION TO CONTINUE
                                      HEARING #72; ORDER TO
                                      CONTINUE HEARING #75;
                                      STIPULATION TO CONTINUE
                                      HEARING #94; MINUTE ODER
                                      #118, #123 , #132; TENTATIVE
                                      RULING #97, #99; ORDER TO
                                      CONTINUE HEARING #110;
                                      BOFA RESPONSES #111
03/12/18   KURTH            SA        PRELIMINARY REVIEW OF               0.1       $65.00
                                      PETITION AND SCHEDULES #1
03/12/18   KURTH            SA        REVIEW ORDER APPROVING              0.1       $65.00
                                      STIPULATION TO CONTINUE
                                      C/COLLATERAL HEARING AND
                                      LIMITING CASH USAGE TO
                                      IRREPARABLE HARM TO
                                      ADDRESS CRO QUESTIONS
                                      RE USE OF CASH TO SUSTAIN
                                      PRE-SALE OPERATIONS (#36)
03/12/18   KURTH            SA        PRELIMINARY REVIEW OF               0.1       $65.00
                                      STATUS REPORT #44
03/12/18   KURTH            SA        TELEPHONE CONFERENCE                0.3      $195.00
                                      WITH R.FEFERMAN RE SALE
                                      ISSUES, TIGER VALUATIONS
                                      OF ALL/SIMSON INVENTORY,

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Date       Attorney         Task      Description                       Hours      Amount
                                      PROGRESS TOWARDS
                                      ADDRESSING COURT'S
                                      CONCERNS RE LACK OF
                                      REPORTING, ETC
03/12/18   KURTH            SA        TELEPHONE CONFERENCE                0.3      $195.00
                                      WITH M.MANNING RE SALE
                                      NOTICES
03/12/18   KURTH            SA        TELEPHONE CONFERENCE                0.5      $325.00
                                      WITH M.SALAZAR AND
                                      M.MANNING RE SOLICITATION
                                      OF BID AND VALUATION RE
                                      DEBTOR'S ASSETS (ALL
                                      AND/OR SIMPSON ASSETS)
03/12/18   KURTH            SA        REVIEW MISCELLANEOUS                0.6      $390.00
                                      MOTIONS ON DOCKET RE
                                      CASE BACKGROUND
03/12/18   KURTH            SA        TELEPHONE CONFERENCE                0.5      $325.00
                                      WITH R.FEFERMAN AND
                                      M.MANNING RE SALE
                                      PROCEDURES, NOTICING OF
                                      AUCTION, AND SOLICITATION
                                      OF BIDS FOR INDIVIDUAL
                                      ASSETS
03/12/18   KURTH            SA        TELEPHONE CONFERENCE                0.5      $325.00
                                      WITH R.FEFERMAN RE
                                      COORDINATION OF EFFORTS
                                      RE RENEWED SALE EFFORTS
03/12/18   KURTH            SA        EXCHANGE E-MAIL                     0.1       $65.00
                                      CORRESPONDENCE WITH
                                      M.SALAZAR AND M.MANNING
                                      RE AUCTION PROCEDURES
03/12/18   KURTH            SA        EXCHANGE E-MAIL                     0.2      $130.00
                                      CORRESPONDENCE WITH
                                      M.MANNING AND
                                      R.FEFFERMAN RE NOTICE OF
                                      UPDATED SALE AND
                                      OFFERED LOTS, PUBLICATION
                                      NOTICE, AND BIDS FROM
                                      TIGER, AS WELL AS REQUEST
                                      FOR BIDS FROM GREAT
                                      AMERICAN/HILCO/GORDON
                                      BROTHERS
03/12/18   KURTH            SA        REVIEW AND RESPOND TO               0.1       $65.00
                                      CORRESPONDENCE FROM
                                      M.YOUNG RE BUYER
                                      DECLARATION RE GOOD
                                      FAITH FINDINGS, ETC.
03/12/18   KURTH            SA        REVIEW CORRESPONDENCE               0.2      $130.00
                                      FROM R.FEFERMAN RE
                                      ORIGINAL APA AND MOU
03/12/18   KURTH            SA        REVIEW CORRESPONDENCE               0.2      $130.00
                                      FROM M.YOUNG WITH COPY
                                      OF ORIGINAL BUYERS
                                      DECLARATION AND RESPOND

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Date       Attorney         Task      Description                       Hours      Amount
                                      TO SAME RE REVISED
                                      DECLARATION WITH
                                      SUPPORT FOR GOOD FAITH
                                      FINDINGS, ETC.
03/12/18   KURTH            SA        REVIEW AND RESPOND TO               0.1       $65.00
                                      CORRESPONDENCE FROM
                                      A.RHIM RE REVISED APA AND
                                      ISSUES WITH ORIGINAL APA
                                      STRUCTURE AND SIDE
                                      AGREEMENTS
03/12/18   KURTH            SA        REVIEW OF DEBTOR-IN-                0.2      $130.00
                                      POSSESSION OPERATING
                                      REPORTS FOR OCTOBER
                                      2017 #53; NOVEMBER 2017
                                      #58; DECEMBER 2017 #107
                                      AND JANUARY 2018 #169 TO
                                      ASSIST WITH RESPONDING
                                      TO COURT'S CONCERND RE
                                      SALE AND DEBTOR/SIMPSON
                                      RELATIONSHIP
03/12/18   KURTH            SA        REVIEW OF AMENDMENT TO              0.1       $65.00
                                      ASSETS/LIABILITIES AND
                                      CREDITORS HOLDING CLAIMS
                                      #59
03/12/18   KURTH            SA        REVIEW OF STATUS                    1.0      $650.00
                                      REPORTS FOR DECEMBER
                                      #70, JANUARY #93 AND #112,
                                      AND FEBRUARY #131 TO
                                      ASSIST IN RESPONDING TO
                                      COURT'S CONCERNS RE
                                      PROPOSED SALE
03/12/18   KURTH            SA        REVIEW OF DECLARATION OF            0.3      $195.00
                                      JOSEPH O'DEA RE CHAPTER
                                      11 STATUS CONFERENCE
                                      #114 TO ASSIST IN
                                      RESPONDING TO COURT'S
                                      CONCERNS RE PROPOSED
                                      SALE
03/12/18   KURTH            SA        REVIEW OF TENTATIVE                 0.5      $325.00
                                      RULING OF STATUS
                                      CONFERENCE, AND 3
                                      MOTIONS. #115 TO ASSIST IN
                                      RESPONDING TO COURT'S
                                      CONCERNS RE PROPOSED
                                      SALE
03/12/18   KURTH            SA        PRELIMINARY REVIEW OF               0.5      $325.00
                                      TENTATIVE RULING OF
                                      STATUS CONFERENCE, AND 4
                                      MOTIONS #120
03/12/18   KURTH            SA        REVIEW OF NOTICE OF SALE            0.5      $325.00
                                      MOTION; MOTION; MEMO OF
                                      POINTS-AUTHORITIES. #138
03/12/18   KURTH            SA        REVIEW OF MEMORANDUM                0.5      $325.00
                                      OF POINTS AND AUTHORITIES
                                      IN SUPPORT OF SALE MOTION

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Date       Attorney         Task      Description                        Hours      Amount
                                      #139
03/12/18   KURTH            SA        REVIEW OF DECLARATION OF             0.5      $325.00
                                      JOSEPH O'DEA IN SUPPORT
                                      OF SALE MOTION #140
03/12/18   KURTH            SA        REVIEW OF DECLARATION OF             0.5      $325.00
                                      RICHARD FEFERMAN IN
                                      SUPPORT OF MOTION FOR
                                      ENTRY OF (2) ORDERS;
                                      MEMORANDUM OF POINTS
                                      AND AUTHORITIES #141
03/12/18   KURTH            SA        REVIEW OF NOTICE OF                  0.1       $65.00
                                      ERRATA TO DECLARATION OF
                                      RICHARD FEFERMAN IN
                                      SUPPORT OF
                                      MOTION/ENTRY/ORDERS #142
03/12/18   KURTH            SA        REVIEW OF SECOND NOTICE              0.1       $65.00
                                      OF ERRATA TO DECLARATION
                                      OF RICHARD FEFERMAN IN
                                      SUPPORT OF SALE #145
03/12/18   KURTH            SA        REVIEW OF NOTICE OF                  0.1       $65.00
                                      ERRATA TO MEMORANDUM
                                      OF POINTS AND AUTHORITIES
                                      IN SUPPORT OF MOTION SALE
                                      MOTION #147
03/12/18   KURTH            SA        REVIEW OF ORDER                      0.5      $325.00
                                      PARTIALLY GRANTING
                                      DEBTORS MOTION
                                      APPROVING STALKING
                                      HORSE, AND SETTING FINAL
                                      SALE HEARING. #148
03/12/18   KURTH            SA        REVIEW OF MINUTE ORDER-              0.1       $65.00
                                      STATUS CONFERENCE AND
                                      TWO MOTIONS. #149
03/12/18   KURTH            SA        REVIEW OF ORDER FOR                  0.1       $65.00
                                      APPOINTMENT OF CHIEF
                                      RESTRUCTURING OFFICER
                                      #150
03/12/18   KURTH            SA        REVIEW OF NOTICE OF (SALE)           0.1       $65.00
                                      HEARING AND MOTION #151
03/12/18   KURTH            SA        REVIEW OF DECLARATION OF             0.4      $260.00
                                      RICHARD FEFERMAN IN
                                      SUPPORT OF ESTIMATED
                                      DISTRIBUTION FORECAST
                                      #155
03/12/18   KURTH            SA        REVIEW OF BANK OF                    0.3      $195.00
                                      AMERICA OPPOSITION TO
                                      DEBTORS MOTION FOR
                                      ORDER APPROVING SALE
                                      #156
03/12/18   KURTH            SA        PRELIMINARY REVIEW OF                0.3      $195.00
                                      BERLIN PACKAGING
                                      OBJECTION TO DEBTORS
                                      SALE #157

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Date       Attorney         Task      Description                       Hours      Amount
03/12/18   KURTH            SA        REVIEW OF DEBTORS REPLY             0.3      $195.00
                                      TO BERLIN PACKAGING
                                      OPPOSITION TO DEBTORS
                                      MOTIN FOR ORDER
                                      APPROVING SALE #163
03/12/18   KURTH            SA        PRELIMINARY REVIEW OF               0.2      $130.00
                                      DEBTORS REPLY TO BANK OF
                                      AMERICA OPPOSITION TO
                                      DEBTORS MOTION FOR SALE
                                      #164
03/12/18   KURTH            SA        REVIEW OF DECLARATION OF            0.2      $130.00
                                      JOSEPH O'DEA IN SUPPORT
                                      OF DEBTORS REPLY #165
03/12/18   KURTH            SA        REVIEW OF DECLARATION OF            0.1       $65.00
                                      RICHARD FEFERMAN IN
                                      SUPPORT OF DEBTORS
                                      REPLY #166
03/12/18   KURTH            SA        PRELIMINARY REVIEW OF               0.2      $130.00
                                      DECLARATION OF JOSEPH
                                      O'DEA RE LANDLORD
                                      CONSENT TO LEASE
                                      ASSIGNMENT #167
03/12/18   KURTH            SA        REVIEW OF MINUTE ORDER -            0.1       $65.00
                                      STATUS CONFERENCE AND
                                      TWO MOTIONS. #168
03/12/18   KURTH            SA        REVIEW OF DECLARATION OF            0.3      $195.00
                                      JOSEPH O'DEA DESCRIBING
                                      EQUIPMENT TO SIMPSON
                                      LABS IN SUPPORT OF
                                      DEBTORS REPLY #171
03/12/18   KURTH            SA        REVIEW OF DECLARATION OF            0.1       $65.00
                                      STEPHEN HINZE IN SUPPORT
                                      OF SALE CONFIRMATION #172
03/12/18   KURTH            SA        REVIEW OF DECLARATION OF            0.3      $195.00
                                      RICHARD FEFERMAN IN
                                      SUPPORT OF MOTION TO
                                      APPROVE FREE AND CLEAR
                                      SALE #173
03/12/18   KURTH            SA        REVIEW OF ORDER TO SHOW             0.5      $325.00
                                      CAUSE RE DISMISSAL OR
                                      CONVERSION TO CHAPTER 7
                                      #177
03/12/18   MANNING          SA        REVIEW SALE PLEADINGS               6.5     $2,632.50
                                      AND RELATED DOCUMENTS
                                      EXCHANGE
03/12/18   MANNING          SA        CORRESPONDENCE WITH M               0.5      $202.50
                                      KURTH RE: SALE ISSUES
03/13/18   BIRD             SA        DRAFTING OF STIPULATION             3.8     $1,634.00
                                      FOR LL / RENT
03/13/18   DENSMORE         SA        RETRIEVE, REVIEW                    0.3       $82.50
                                      PLEADINGS FROM DOCKET
                                      RE SALE NOTICES

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Date       Attorney         Task      Description                       Hours      Amount
03/13/18   DENSMORE         SA        BEGIN DRAFTING NOTICE RE:           0.3       $82.50
                                      SALE OF PROPERTY PER M.
                                      MANNING
03/13/18   DESANTIS         SA        CONFERENCE WITH M.                  0.5      $180.00
                                      KURTH RE: REVIEW OF LEASE
                                      AGREEMENTS TO ASSESS
                                      TRUE V. DISGUISED
                                      SECURITY INTEREST AND
                                      SALE OF ASSESTS (NO
                                      CHARGE FOR M. KURTH)
03/13/18   DESANTIS         SA        TELEPHONE CALL WITH R.              0.2       $72.00
                                      FEFERMAN RE: REVIEW OF
                                      LEASE AGREEMENTS AND TO
                                      ASSESS TRUE V. DISGUISED
                                      SECURITY INTEREST AND
                                      SALE OF ASSESTS
03/13/18   DESANTIS         SA        REVIEW OF LEASE                     1.6      $576.00
                                      AGREEMENTS TO ASSESS
                                      TRUE V. DISGUISED
                                      SECURITY INTEREST AND
                                      SALE OF ASSESTS
03/13/18   KURTH            SA        FURTHER REVIEW SALE                 2.0     $1,300.00
                                      MOTIONS, DECLARATIONS,
                                      TENTATIVE RULING, AND
                                      TRANSCRIPT
03/13/18   KURTH            SA        TELEPHONE CONFERENCE                0.5      $325.00
                                      WITH M.MANNING RE APA,
                                      NOTICE OF SALE, SALE
                                      MOTION, ASSET LISTS AND
                                      COURT ORDER APPROVING
                                      PRIOR BID PROCEDURES
03/13/18   KURTH            SA        REVIEW TRANSCRIPT AND               0.1       $65.00
                                      JUDGE'S COMMENTS
                                      REGARDING UNAVAILABILITY
                                      OF MR. SIMPSON TO TESTIFY
03/13/18   KURTH            SA        PREPARE                             0.1       $65.00
                                      CORRESPONDENCE TO
                                      R.FEFFERMAN AND
                                      M.MANNING REGARDING
                                      COST EFFECTIVELY
                                      PUBLISHING THE LIST OF
                                      AVAILABLE ASSETS VIA NEWS
                                      PUBLICATIONS, COURT
                                      FILINGS, OR WEBSITE
03/13/18   KURTH            SA        PREPARE                             0.1       $65.00
                                      CORRESPONDENCE TO
                                      A.RHIM, R.FEFFERMAN AND
                                      M.MANNING RE COURTS
                                      AVAILABILITY, AND
                                      TIMING/COMMENTS ON
                                      REVISED APA.
03/13/18   KURTH            SA        TELEPHONE CONFERENCE                0.4      $260.00
                                      WITH R.FEFFERMAN AND
                                      M.MANNING REGARDING

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Date       Attorney         Task      Description                       Hours      Amount
                                      REVISED DEAL TERMS AND
                                      COORDINATING CHANGES TO
                                      THE APA, AND ALSO
                                      DISCUSSING HEARING
                                      PREPARATIONS,
                                      DECLARATIONS, PRIORITIES,
                                      AND NECESSARY TESTIMONY
03/13/18   KURTH            SA        PREPARE                             0.2      $130.00
                                      CORRESPONDENCE TO
                                      M.YOUNG REGARDING
                                      REVISIONS TO APA,
                                      COORDINATING DRAFTING,
                                      AND REQUIRING FINAL
                                      DOCUMENTS FOR BANK
                                      REVIEW TODAY, AND ALSO
                                      REQUESTING MR. SIMPSON
                                      APPEARANCE TO TESTIFY ON
                                      THE 21ST
03/13/18   KURTH            SA        TELEPHONE CONFERENCE                0.4      $260.00
                                      WITH R.FEFFERMAN,
                                      M.SALZAZAR AT TIGER
                                      CAPITAL REGARDING
                                      LIQUIDATION PROPOSALS
                                      AND VALUATIONS FOR
                                      SIMSON ASSETS AND ENTIRE
                                      ASSET PORTFOLIO
03/13/18   KURTH            SA        TELEPHONE CONFERENCE                0.3      $195.00
                                      WITH S.HEINZ TO
                                      COORDINATE M&A ACTIVITY
                                      AND AVOID DUPLICATION OF
                                      EFFORT.
03/13/18   KURTH            SA        PREPARE                             0.1       $65.00
                                      CORRESPONDENCE TO
                                      S.HEINZ AND R.FEFFERMAN
                                      RE REQUEST FOR COPIES OF
                                      PRIOR UCC SEARCHES TO
                                      CONFIRM ALL SECURED
                                      PARTIES ARE NOTICED
03/13/18   KURTH            SA        CONFER WITH M.MANNING RE            0.4      $260.00
                                      SALE NOTICES, REQUEST
                                      FOR UCC SEARCHES, STATUS
                                      OF LEASED REAL ESTATE -
                                      COORDINATION RE MOTION
                                      TO ASSUME/ASSIGN AND
                                      STATUS OF APA REVISIONS
03/13/18   KURTH            SA        TELEPHONE CONFERENCE                0.5      $325.00
                                      WITH R.FEFERMAN RE
                                      ISSUES WITH RESPECT TO
                                      LEASED/OWNED EQUIPMENT -
                                      QUESTIONS REGARDING
                                      SECURITY INTERESTS,
                                      LEASED V. OWNED
                                      EQUIPMENT, REVIEW OF
                                      SCHEDULES AND REVIEW OF
                                      DOCUMENTATION TO VERIFY
                                      INFORMATION RE SAME
                                      (PARTIAL PARTICIPATION BY
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Date       Attorney         Task      Description                       Hours      Amount
                                      M.MANNING)
03/13/18   KURTH            SA        CONFER WITH I.DENSMORE              0.3      $195.00
                                      RE REVIEW OF SCHEDULES
                                      OF ASSETS AND LIABILITIES /
                                      SCHEDULES OF APA ASSETS
                                      TO PREPARE CHART IN
                                      RESPONSE TO COURT'S
                                      QUESTIONS REGARDING
                                      SAME
03/13/18   KURTH            SA        CONFER WITH K.DESANTIS              0.5      $325.00
                                      RE REVIEW OF
                                      DOCUMENTATION RE:
                                      LEASED V. OWNED
                                      EQUIPMENT IN CONNECTION
                                      WITH DETERMINATION OF
                                      SALEABLE ASSETS
03/13/18   KURTH            SA        PREPARE                             0.1       $65.00
                                      CORRESPONDENCE TO R.
                                      FEFERMAN REGARDING
                                      SIMPSON TESTIMONY AND
                                      COORDINATING
                                      APPEARANCES
03/13/18   MANNING          SA        REVIEW AND FINALIZE SALE            1.0      $405.00
                                      NOTICE
03/13/18   MANNING          SA        EXCHANGE EMAIL                      0.2       $81.00
                                      CORRESPONDENCE WITH M.
                                      KURTH, R. FEFERMAN RE:
                                      TERM SHEET/MOU AND APA
03/13/18   MANNING          SA        REVIEW LOCAL RULES                  0.4      $162.00
                                      REGARDING PUBLICATION OF
                                      SALE NOTICE
03/13/18   MANNING          SA        REVIEW ORIGINAL APA AND             1.0      $405.00
                                      COMMENTS REGARDING NEW
                                      DEAL
03/13/18   MANNING          SA        REVIEW LIST OF ASSETS FOR           0.4      $162.00
                                      SALE TO SIMPSON (AKA
                                      "INCLUDED" ASSETS) AND
                                      THOSE NOT FOR SALE (AKA
                                      "EXCLUDED ASSETS")
03/13/18   MANNING          SA        TELEPHONE CONFERENCE                0.5      $202.50
                                      WITH M. KURTH RE: APA,
                                      SALE NOTICE, SALE MOTION,
                                      ASSET LIST, AND COURT
                                      ORDER REGARDING
                                      APPROVAL OF PRIOR BID
                                      PROCEDURES
03/13/18   MANNING          SA        TELEPHONE CONFERENCE                0.4      $162.00
                                      WITH M. KURTH, R.
                                      FEFERMAN RE: REVISED
                                      DEAL TERMS AND
                                      COORDINATING REVISIONS
                                      TO APA, HEARING
                                      PREPARATIONS, NECESSARY
                                      DECLARATIONS AND

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Date       Attorney         Task      Description                       Hours      Amount
                                      TESTIMONY AND
                                      TIMING/PRIORITY OF SAME
03/13/18   MANNING          SA        CONFER WITH M. KURTH RE:            0.4      $162.00
                                      REQUEST FOR UCC SALE
                                      SEARCHES, STATUS OF
                                      LEASED REAL
                                      ESTATE/COORDINATE RE:
                                      MOTION TO ASSUME/REJECT
                                      REAL PROPERTY LEASES
03/13/18   MANNING          SA        TELEPHONE CONFERENCE                0.3      $121.50
                                      WITH M. KURTH, R.
                                      FEFERMAN RE: STATUS OF
                                      SECURITY INTERESTS,
                                      LEASED VS OWNED
                                      EQUIPMENT, REVIEW OF
                                      SCHEDULES
03/13/18   MANNING          SA        DRAFT AND CIRCULATE                 3.5     $1,417.50
                                      REVISED APA
03/13/18   MANNING          SA        EXCHANGE                            0.3      $121.50
                                      CORRESPONDENCE WITH
                                      SIMPSON, BANK AND CLIENT
                                      RE: SAME
03/14/18   BIRD             SA        CORRESPOND WITH CORE                0.7      $301.00
                                      RE: LEASE ISSUES IN
                                      DETERMINATION OF
                                      SALEABLE ASSETS
03/14/18   BIRD             SA        PREPARE LANDLORD                    2.4     $1,032.00
                                      STIPULATION NEEDED TO
                                      FACILITATE SALE AND
                                      PROVIDE DRAFTS TO
                                      COUNTERPARTIES
03/14/18   DENSMORE         SA        REVIEW SCHEDULES,                   4.9     $1,347.50
                                      AMENDMENTS TO IDENTIFY,
                                      LIST ALL KNOWN ASSETS,
                                      VALUES THEREOF PER M.
                                      KURTH
03/14/18   DENSMORE         SA        ASSIST M. MANNING WITH              0.3       $82.50
                                      PREPARATION OF SALE
                                      MOTION
03/14/18   DENSMORE         SA        REVIEW SCHEDULES TO                 0.6      $165.00
                                      ASSIST M. KURTH WITH
                                      RECONCILING TOTAL
                                      AMOUNTS OF ASSETS
03/14/18   DESANTIS         SA        CONTINUED REVIEW OF                 4.5     $1,620.00
                                      LEASES AND LOANS
03/14/18   DESANTIS         SA        EMAIL TO M. KURTH AND M.            0.4      $144.00
                                      MANNING RE: REVIEW OF
                                      "LEASES"
03/14/18   KURTH            SA        Review correspondence from          0.2      $130.00
                                      K.Desantis Re: APA exhibits
03/14/18   KURTH            SA        Review APA exhibits                 1.0      $650.00


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Date       Attorney         Task      Description                         Hours      Amount
03/14/18   KURTH            SA        Exchange correspondence with          0.5      $325.00
                                      L. Bird RE: landlord stipulation
                                      (various)
03/14/18   KURTH            SA        Exchange correspondence with          0.4      $260.00
                                      S. Hinz re: background
                                      information and questions
                                      regarding renegotiation of sale
                                      agreement
03/14/18   KURTH            SA        Exchange correspondence with          0.3      $195.00
                                      M. Manning RE: sale
                                      negotiations and preparation of
                                      APA and related motion
03/14/18   KURTH            SA        Exchange various emails with R.       0.7      $455.00
                                      Feferman Re: sale process and
                                      negotiations
03/14/18   KURTH            SA        Exchange correspondence with          0.3      $195.00
                                      J.Odea RE: business issues and
                                      negotiation of new sale
                                      agreement
03/14/18   KURTH            SA        Exchange correspondence with          0.3      $195.00
                                      M. Manning and R. Ferferman
                                      RE: publication of equipment sale
03/14/18   KURTH            SA        Exchange correspondence with          0.2      $130.00
                                      M. Manning Re: sale notice
03/14/18   KURTH            SA        Exchange correspondence with          0.3      $195.00
                                      M. Manning Re: APA
03/14/18   KURTH            SA        Exchange correspondence with          0.4      $260.00
                                      R. Feferman RE: monthly
                                      financials, business issues, and
                                      renegotiation of sale agreement
03/14/18   KURTH            SA        Exchange correspondence with          0.5      $325.00
                                      R.Feferman re: sale issues with
                                      respect to Berlin Equipment
                                      (Various)
03/14/18   KURTH            SA        Exchange correspondence with          0.5      $325.00
                                      R.Feferman re: Berlin Equipment
                                      and equipment lease rejection
                                      issues related to the sale effort
                                      (various)
03/14/18   KURTH            SA        Exchange correspondence with          0.5      $325.00
                                      M.Manning Re: revised APA
                                      (various)
03/14/18   KURTH            SA        Exchange correspondence with          0.3      $195.00
                                      M Manning Re: equipment lease
                                      issues related to the sale effort
03/14/18   KURTH            SA        Exchange correspondence with          0.1       $65.00
                                      S. Heinz to coordinate regarding
                                      rejection of real estate leases
03/14/18   KURTH            SA        Exchange correspondence with          0.3      $195.00
                                      A.Rhim re: revised APA


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Date       Attorney         Task      Description                       Hours      Amount
03/14/18   KURTH            SA        Exchange correspondence with        0.2      $130.00
                                      J.Odea re: racking quote in
                                      support of sale efforts
03/14/18   KURTH            SA        Exchange correspondence with        0.2      $130.00
                                      R.Feferman with respect to
                                      impact of sale process on
                                      debtor's payroll
03/14/18   KURTH            SA        Exchange correspondence with        0.2      $130.00
                                      M.Manning re: BofA equipment
                                      list
03/14/18   KURTH            SA        Exchange correspondence with        0.2      $130.00
                                      A.Rhim re: BofA equipment list
03/14/18   KURTH            SA        Exchange correspondence with        0.2      $130.00
                                      K.Desantis re: APA exhibits
03/14/18   KURTH            SA        Exchange correspondence with        0.2      $130.00
                                      L.Bird re: Simpson narrative
03/14/18   KURTH            SA        Exchange correspondence with        0.3      $195.00
                                      S.Hinz re: background
                                      information re: Berlin assets
03/14/18   KURTH            SA        Exchange correspondence with        0.3      $195.00
                                      R.Feferman re: Core equipment
                                      lease rejections in association
                                      with sale effort
03/14/18   KURTH            SA        Exchange correspondence with        0.2      $130.00
                                      R.Feferman re: nutraceutical
                                      manufacturing and fulfillment
                                      company equipment for sale
03/14/18   KURTH            SA        Exchange correspondence with        0.8      $520.00
                                      R.Feferman re: analysis of
                                      outsourcing in response to
                                      court's concerns re: same
03/14/18   KURTH            SA        Exchange correspondence with        0.3      $195.00
                                      M. Manning re: revised APA
03/14/18   KURTH            SA        Exchange correspondence with        0.3      $195.00
                                      M.Manning re: Simpson
                                      spreadsheet
03/14/18   KURTH            SA        Exchange correspondence with        0.5      $325.00
                                      M.Young re: revised APA
03/14/18   KURTH            SA        Exchange correspondence with        0.4      $260.00
                                      J.Odea re: Simpson narrative
03/14/18   KURTH            SA        Further revise and modified APA     1.9     $1,235.00
03/14/18   MANNING          SA        FURTHER REVISIONS TO APA            2.6     $1,053.00
03/14/18   MANNING          SA        EMAIL WITH K. DESANTIS RE:          0.4      $162.00
                                      REVIEW OF "LEASES"
03/14/18   MANNING          SA        PREPARE MOTION                      3.2     $1,296.00
                                      AUTHORIZING SALE AND 9019
                                      RELIEF
03/14/18   MANNING          SA        CORRESPOND WITH M.                  0.3      $121.50
                                      KURTH, R. FEFERMAN RE:

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Date       Attorney         Task      Description                       Hours      Amount
                                      "LEASE" REJECTIONS
03/14/18   MANNING          SA        CORRESPOND WITH M.                  0.3      $121.50
                                      KURTH, J. BIRD RE:
                                      LANDLORD STIPULATION
03/14/18   MANNING          SA        REVIEW K. DESANTIS                  0.6      $243.00
                                      ANALYSIS OF "LEASES"
03/14/18   MANNING          SA        REVIEW BOFA EQUIPMENT               0.3      $121.50
                                      LIST
03/14/18   MANNING          SA        CORRESPOND WITH M.                  0.3      $121.50
                                      KURTH, S. HINZE RE: MOTION
                                      TO ASSUME/REJECT LEASES
                                      TO FACILITATE ASSEST SALE
03/14/18   MANNING          SA        CORRESPONDENCE WITH                 0.4      $162.00
                                      J'DEA, R. FEFERMAN RE:
                                      COSTS ASSOCIATED WITH
                                      REJECTION OF REAL
                                      PROPERTY LEASE AND
                                      RELATED MOVING
                                      EXPEDITURES
03/14/18   MANNING          SA        CORRESPOND WITH M.                  0.1       $40.50
                                      YOUNG RE: REVISED APA
03/14/18   MANNING          SA        REVIEW AND COMMENT ON               0.5      $202.50
                                      LANDLORD STIPULATION
03/15/18   BIRD             SA        DRAFTING IN SUPPORT OF              4.7     $2,021.00
                                      SHOW CAUSE ORDER
                                      RESPONSE WITH ISSUES
                                      OVERLAPPING SALES
                                      MOTION
03/15/18   DESANTIS         SA        EMAIL WITH M. KURTH:                0.3      $108.00
                                      REVIEW/REVISION OF
                                      DECLARATIONS OF J. O'DEA
                                      AND R. FEFERMAN IN
                                      SUPPORT OF SALE MOTION
03/15/18   DESANTIS         SA        REVISE DECLARATION OF J.            2.1      $756.00
                                      O'DEA IN SUPPORT OF SALE
                                      MOTION
03/15/18   DESANTIS         SA        REVISE DECLARATION OF R.            2.0      $720.00
                                      FEFERMAN IN SUPPPORT OF
                                      SALE MOTION
03/15/18   DESANTIS         SA        OFFICE CONFERENCE WITH              0.2       $72.00
                                      M. KURTH RE: PREPARATION
                                      OF EX PARTE MOTION FOR
                                      SHORTENED NOTICE FOR
                                      SALE HEARING AND
                                      ANCILLARY DOCUMENTS
03/15/18   DESANTIS         SA        PREPARE EX PARTE MOTION             2.1      $756.00
                                      FOR SHORTENED NOTICE
                                      FOR SALE HEARING AND ALL
                                      ANCILLARY DOCUMENTS
03/15/18   DESANTIS         SA        PREPARE EX PARTE MOTION             0.5      $180.00
                                      FOR SHORTENED NOTICE


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Date       Attorney         Task      Description                         Hours      Amount
                                      FOR SALE HEARING
03/15/18   DESANTIS         SA        PREPARE DECLARATION OF                1.0      $360.00
                                      METTE H. KURTH TO EX
                                      PARTE MOTION FOR
                                      SHORTENED NOTICE FOR
                                      SALE HEARING
03/15/18   DESANTIS         SA        PREPARE FORM OF ORDER                 0.5      $180.00
                                      TO EX PARTE MOTION FOR
                                      SHORTENED NOTICE OF SALE
                                      HEARING
03/15/18   DESANTIS         SA        OFFICE CONFERENCE WITH                0.4      $144.00
                                      M. KURTH RE: PREPARATION
                                      OF RESPONSE TO ORDER TO
                                      SHOW CAUSE ISSUES
                                      OVERLAPPING WITH SALE
                                      ISSUES
03/15/18   DESANTIS         SA        RESEARCH RE: CASE LAW IN              2.5      $900.00
                                      SUPPORT OF RESPONSE TO
                                      ORDER TO SHOW CAUSE
03/15/18   DESANTIS         SA        PREPARE RESPONSE TO                   1.8      $648.00
                                      ORDER TO SHOW CAUSE
03/15/18   KURTH            SA        interview R.Feferman regarding        1.5      $975.00
                                      extensive questions raised by the
                                      court regarding the sale process
                                      and due diligence needed to
                                      address those issues`
03/15/18   KURTH            SA        Exchange correspondence with          0.3      $195.00
                                      M. Manning Re: lease research
                                      related to the sale effort
03/15/18   KURTH            SA        CONFER WITH K. DESANTIS               0.4      $260.00
                                      RE PREPARTATION OF
                                      RESPONSE TO OSC
03/15/18   KURTH            SA        CONFER WITH K. DESANTIS               0.2      $130.00
                                      RE PREPARATION OF 50 PART
                                      MOTION FOR SHORTENED
                                      NOTICE FOR SALE HEARING
                                      AND ANCILLARY DOCUMENTS
03/15/18   KURTH            SA        Exchange correspondence with          0.2      $130.00
                                      K.Desantis re: Simpson narrative
03/15/18   KURTH            SA        Exchange correspondence with          0.5      $325.00
                                      R.Feferman RE negotiations with
                                      Simpson regarding assumption of
                                      building leases (Various)
03/15/18   KURTH            SA        Exchange correspondence with          0.2      $130.00
                                      S.Hinze RE sale issues with
                                      respect to Berlin equipment
                                      (various)
03/15/18   KURTH            SA        Review and revise Simpson             0.5      $325.00
                                      narrative
03/15/18   KURTH            SA        Exchange correspondence with          0.3      $195.00
                                      K.Desantis re: service and


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Date       Attorney         Task      Description                         Hours      Amount
                                      mailing
03/15/18   KURTH            SA        Exchange correspondence with          0.2      $130.00
                                      M.Manning re: service and
                                      mailing
03/15/18   KURTH            SA        Exchange correspondence with          0.1       $65.00
                                      S.Hinz receipt of buyers deposit
03/15/18   KURTH            SA        Exchange correspondence with          0.6      $390.00
                                      M. Young Re: revised APA
03/15/18   KURTH            SA        Exchange correspondence with          0.4      $260.00
                                      M. Manning Re: APA
03/15/18   KURTH            SA        Exchange correspondence with          0.4      $260.00
                                      M. Manning Re: sale motion
03/15/18   KURTH            SA        Exchange correspondence with          0.1       $65.00
                                      R. FEFERMAN RE nutraceutical
                                      manufacturing and fulfillment
                                      company equipment for sale
03/15/18   KURTH            SA        Exchange for the                      0.2      $130.00
                                      correspondence with S. Hinze
                                      RE Berlin assets
03/15/18   KURTH            SA        Exchange correspondence with          0.2      $130.00
                                      S. Hinze to coordinate filings
03/15/18   KURTH            SA        Exchange correspondence with          0.6      $390.00
                                      a.rHIM Re: second revised APA
                                      (vARIOUS)
03/15/18   KURTH            SA        Exchange correspondence with          0.2      $130.00
                                      k.dESANTIS RE: notice of motion
                                      and ex parte motion for short
                                      notice
03/15/18   KURTH            SA        Exchange correspondence with          0.8      $520.00
                                      RE declaration in support of sale
                                      motion r.fEFERMAN
03/15/18   KURTH            SA        Exchange correspondence with          0.6      $390.00
                                      j.odEA AND s.HEINZ RE:
                                      CUSTOMER CONCerns j.oDEA
                                      regarding status of orders and
                                      resolution of same pending sale
03/15/18   KURTH            SA        WORK ON ASSET SALE                    0.5      $325.00
03/15/18   KURTH            SA        Exchange correspondence with          0.6      $390.00
                                      b.lOU and m.young RE: Simpson
                                      labs TRUE UP amounts
03/15/18   KURTH            SA        Exchange correspondence with          0.2      $130.00
                                      M Manning and A. Rim Re:
                                      notice of motion and ex parte
                                      motion for short time on sale
03/15/18   KURTH            SA        Exchange correspondence with          0.1       $65.00
                                      M. Manning Re: service issues
                                      Ray sale motion
03/15/18   KURTH            SA        exchange correspondence with          0.3      $195.00
                                      R. Ferferman Re: declaration to
                                      support request for short motion

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Date       Attorney         Task      Description                         Hours      Amount
                                      hearing
03/15/18   KURTH            SA        Exchange correspondence with          0.2      $130.00
                                      R. Ferferman Re: draft of closed
                                      transactions between core and
                                      Simpson in response to court
                                      concerns
03/15/18   KURTH            SA        Telphone conferences with             1.3      $845.00
                                      R.Feferman re sale process and
                                      preparation of supporting
                                      declarations to address court's
                                      concerns (various)
03/15/18   KURTH            SA        TELECONFERENCE WITH                   1.1      $715.00
                                      A.RHIM, SIMPSON, R.
                                      FEFERMAN, M.MANNING RE
                                      APA REVISIONS AND
                                      COMMENTS
03/15/18   KURTH            SA        EXCHANGE                              0.2      $130.00
                                      CORRESPONDENCE WITH M.
                                      MANNING RE PUBLICATION
                                      OF SALE NOTICE
03/15/18   KURTH            SA        REVIEW CORRESPONDENCE                 0.1       $65.00
                                      FROM M. MANNING RE BERLIN
                                      JOINDER
03/15/18   KURTH            SA        EXCHANGE                              0.2      $130.00
                                      CORRESPONDENCE WITH M.
                                      MANNING, A. RHIM RE TIGER
                                      PROPOSAL
03/15/18   KURTH            SA        REVIEW CORRESPONDENCE                 0.2      $130.00
                                      FROM M. MANNING M.
                                      SALAZAR RE TIGER
                                      PROPOSAL
03/15/18   KURTH            SA        interview Core management             1.5      $975.00
                                      regarding extensive questions
                                      raised by the court regarding the
                                      sale process and due diligence
                                      needed to address those issues
03/15/18   KURTH            SA        attend to negotiation of modified     2.0     $1,300.00
                                      APA
03/15/18   KURTH            SA        attend to sale process`               1.0      $650.00
03/15/18   MANNING          SA        REVIEW MOTION TO                      1.5      $607.50
                                      ASSUME/ASSIGN REAL
                                      PROPERTY LEASE
03/15/18   MANNING          SA        PHONE CALL WITH A.RHIM,               1.1      $445.50
                                      SIMPSON, R.FEFERMAN, M.
                                      KURTH RE: APA
                                      REVISIONS/COMMENTS
03/15/18   MANNING          SA        REVISE APA PER COMMENTS               1.8      $729.00
                                      FROM OTHER PARTIES
03/15/18   MANNING          SA        REVIEW DRAFTS OF                      1.0      $405.00
                                      R.FEFERMAN AND J.O'DEA
                                      DECLARATIONS


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Date       Attorney         Task      Description                       Hours      Amount
03/15/18   MANNING          SA        REVISE SALE/9019 MOTION             1.9      $769.50
                                      PER COMMENTS
03/15/18   MANNING          SA        REVIEW EMAIL NOTICE TO              0.4      $162.00
                                      PROSPECTIVE BUYERS RE:
                                      EQUIPMENT SALE
03/15/18   MANNING          SA        CORRESPONDENCE WITH M.              0.4      $162.00
                                      KURTH, S. HINZE RE: BERLIN
                                      JOINDER TO SALE MOTION
03/15/18   MANNING          SA        EXCHANGE                            0.2       $81.00
                                      CORRESPONDENCE WITH M.
                                      YOUNG RE: DECLARATION IN
                                      SUPPORT OF SALE
03/15/18   MANNING          SA        EXCHANGE                            0.2       $81.00
                                      CORRESPONDENCE WITH M.
                                      KURTH, A. RHIM RE: TIGER
                                      PROPOSAL
03/15/18   MANNING          SA        EXCHANGE                            0.4      $162.00
                                      CORRESPONDENCE WITH M.
                                      KURTH, M. SALAZAR RE:
                                      TIGER'S PROPOSAL AND
                                      WHETHER IP WILL BE
                                      CONSIDERED
03/15/18   MANNING          SA        PREPARE                             0.3      $121.50
                                      CORRESPONDENCE TO M.
                                      KURTH, I. DINSMORE RE: TIME
                                      OF FILING DEADLINE AND
                                      LOCAL PROCEDURES
03/15/18   MANNING          SA        EXCHANGE                            0.2       $81.00
                                      CORRESPONDENCE WITH M.
                                      KURTH RE: PUBLICATION OF
                                      NOTICE
03/15/18   MANNING          SA        EXCHANGE                            0.8      $324.00
                                      CORRESPONDENCE WITH R.
                                      FEFERMAN, J. O'DEA, M.
                                      YOUNG RE: EXPENSE OF
                                      MOVING OUT OF BUILDING 1
                                      AND STATUS OF SIMPSON
                                      ASSUMPTION OF SAME
03/15/18   MANNING          SA        REVIEW PROPERTY LEASE OF            0.6      $243.00
                                      BUILDING 1
03/15/18   MANNING          SA        PREPARE FOR SALE HEARING            1.4      $567.00
                                      AND RESPONSE TO ORDER
                                      TO SHOW CAUSE
03/15/18   MANNING          SA        REVIEW TIGER A/R ANALYSIS           0.3      $121.50
03/15/18   MANNING          SA        EXCHANGE                            0.4      $162.00
                                      CORRESPONDENCE WITH S.
                                      HINZE RE: COORDINATING
                                      FILING OF SALE MOTION AND
                                      RELATED DOCUMENTS
03/15/18   MANNING          SA        REVIEW SERVICE LIST FOR             0.3      $121.50
                                      SALE


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Date       Attorney         Task      Description                       Hours      Amount
03/15/18   MANNING          SA        REVIEW LIQUIDATION                  0.6      $243.00
                                      ANALYSIS
03/15/18   MANNING          SA        CORRESPONDENCE WITH R.              0.3      $121.50
                                      FEFERMAN RE: NOTICE TO
                                      PROSPECTIVE BUYERS RE:
                                      EQUIPMENT SALE
03/16/18   BIRD             SA        FINAL EDITS TO RESPONSE             1.7      $731.00
                                      TO SHOW CAUSE ORDER
03/16/18   DENSMORE         SA        REVIEW FIGURES IN PRIOR             0.6      $165.00
                                      DECLARATIONS TO ASSIST
                                      WITH SALE MATTERS PER M.
                                      KURTH
03/16/18   DESANTIS         SA        CONTINUED PREPARATION               1.2      $432.00
                                      OF RESPONSE TO ORDER TO
                                      SHOW CAUSE
03/16/18   DESANTIS         SA        OFFICE CONFERENCE WITH              0.5      $180.00
                                      M. KURTH RE: PREPARATION
                                      FOR HEARING ON SALE
                                      MOTION
03/16/18   DESANTIS         SA        EMAIL TO R. FEFERMAN RE:            0.1       $36.00
                                      TRANSCRIPTS FROM PRIOR
                                      COURT HEARINGS
03/16/18   DESANTIS         SA        REVIEW OF MARCH 6, 2018             2.0      $720.00
                                      TRANSCRIPT TO DETERMINE
                                      OUTSTANDING QUESTIONS
                                      OF COURT AND ANSWERS TO
                                      QUESTIONS
03/16/18   DESANTIS         SA        REVIEW OF MARCH 16, 2018            0.5      $180.00
                                      O'DEA DECLARATION TO
                                      DETERMINE OUTSTANDING
                                      QUESTIONS OF COURT AND
                                      ANSWERS TO QUESTIONS
03/16/18   DESANTIS         SA        ATTENTION TO SERVICE OF             0.3      $108.00
                                      PLEADINGS FILED ON
                                      3/17/2018
03/16/18   KURTH            SA        TELEPHONE CONFERENCE                0.5      $325.00
                                      WITH A.RHIM RE LIQUIDATOR
                                      ANALYSIS
03/16/18   KURTH            SA        TELEPHONE CONFERENCE                0.4      $260.00
                                      WITH A.RHIM AND
                                      R.FEFERMAN RE LIQUIDATOR
                                      ANALYSIS AND RELATED
                                      ISSUES ADDRESSING
                                      COURT'S SALE CONCERNS
03/16/18   KURTH            SA        TELEPHONE CONFERENCE                0.5      $325.00
                                      WITH R.FEFERMAN AND MARK
                                      YOUNG/ E.SIMON RE
                                      ADJUSTMENTS AND
                                      RECONCILIATIONS UNDER
                                      THE APA; WITNESSES;
                                      PREPARATION FOR HEARING
                                      RE SAME

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Date       Attorney         Task      Description                       Hours      Amount
03/16/18   KURTH            SA        REVIEW CORRESPONDENCE               0.1       $65.00
                                      FROM SIMPSON RE
                                      TREATMENT OF A/R AND
                                      DEPOSITS UNDER APA AND
                                      PREPARATION FOR HEARING;
                                      PREPARE
                                      CORRESPONDENCE TO
                                      M.MANNING RE SAME
03/16/18   KURTH            SA        PREPARATION FOR SALE                3.0     $1,950.00
                                      HEARING
03/16/18   MANNING          SA        CONDUCT FINAL REVIEW AND            1.8      $729.00
                                      EDITS TO SALE/9019 MOTION
                                      AND RELATED RESPONSE TO
                                      ORDER TO SHOW CAUSE
03/16/18   MANNING          SA        FACILITATE FILING AND               0.5      $202.50
                                      SERVICE OF SALE/9019
                                      MOTION AND RESPONSE TO
                                      ORDER TO SHOW CAUSE AND
                                      ANSWER QUESTIONS RE:
                                      SAME
03/16/18   MANNING          SA        EXCHANGE                            0.4      $162.00
                                      CORRESPODENCE WITH K.
                                      DESANTIS RE: HEARING
                                      TRANSCRIPTS
03/16/18   MANNING          SA        REVIEW ADDITIONAL SERVICE           0.3      $121.50
                                      PARTY LIST FROM J. O'DEA
03/16/18   MANNING          SA        CORRESPOND WITH A. RHIM             0.2       $81.00
                                      RE: CONTACTING CHAMBERS
                                      RE PLEADINGS
03/16/18   MANNING          SA        REVIEW OPEN ORDER LIST              0.4      $162.00
03/16/18   MANNING          SA        REVIEW PROPOSED CASH                1.1      $445.50
                                      COLLATERAL STIPULATION
03/16/18   MANNING          SA        DRAFT EMAIL TO                      0.7      $283.50
                                      CUSTOMERS RE: PENDING
                                      SALE OF OPEN ACCOUNTS,
                                      DISCUSS SAME WITH J. O'DEA
03/16/18   MANNING          SA        EXCHANGE                            0.9      $364.50
                                      CORRESPONDENCE WITH M.
                                      KURTH, M. YOUNG RE:
                                      RECONCILING RECEIVABLES
                                      DUE FROM DEBTOR TO
                                      SIMPSON
03/16/18   MANNING          SA        REVIEW DECEMBER HEARING             1.1      $445.50
                                      TRANSCRIPT TO ENSURE
                                      DEBTORS SALE
                                      PREPARATION ADDRESSES
                                      ALL ISSUES
03/16/18   MANNING          SA        REVIEW APA EXHIBITS                 1.8      $729.00
03/16/18   MANNING          SA        CORRESPONDENCE WITH R.              0.3      $121.50
                                      FEFERMAN RE: SIMPSON
                                      REMOVAL OF PROPERTY
                                      FROM BOTH REAL PROPERTY

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Date       Attorney         Task      Description                       Hours      Amount
                                      LOCATIONS
03/17/18   BIRD             SA        CORRESPOND WITH BUYER               0.8      $344.00
                                      AND CRO RE: POOSIBLE
                                      ASSUMPTION OF DEBTOR'S
                                      LEASED EQUIPMENT
03/18/18   KURTH            SA        TELEPHONE CONFERENCE                1.0      $650.00
                                      WITH R.FEFERMAN RE
                                      DISTRIBUTION ANALYSIS
                                      NEEDED TO ADDRESS
                                      COURT'S SALE CONCERNS
03/19/18   DESANTIS         SA        REVIEW OF 3/16 FEFERMAN             1.0      $360.00
                                      DECLARATION TO
                                      DETERMINE OUTSTANDING
                                      QUESTIONS OF COURT AND
                                      ANSWERS TO QUESTIONS
03/19/18   DESANTIS         SA        REVIEW ORDER TO SHOW                0.7      $252.00
                                      CAUSE TO DETERMINE
                                      OUTSTANDING QUESTIONS
                                      TO COURT AND ANSWERS TO
                                      QUESTIONS
03/19/18   DESANTIS         SA        REVIEW OF DECEMBER 20,              1.0      $360.00
                                      2017 TRANSCRIPT TO
                                      DETERMINE OUTSTANDING
                                      QUESTIONS OF COURT AND
                                      ANSWERS TO QUESTIONS
03/19/18   DESANTIS         SA        REVIEW OF MARCH 8, 2018             0.3      $108.00
                                      O'DEA DECLARATION TO
                                      DETERMINE OUTSTANDING
                                      QUESTIONS OF COURT AND
                                      ANSWERS TO QUESTIONS
03/19/18   DESANTIS         SA        REVIEW OF MARCH 8, 2018             0.2       $72.00
                                      SIMPSON DECLARATION TO
                                      DETERMINE OUTSTANDING
                                      QUESTIONS OF COURT AND
                                      ANSWERS TO QUESTIONS
03/19/18   DESANTIS         SA        REVIEW OF MARCH 8, 2018             0.2       $72.00
                                      GRACE DECLARATION TO
                                      DETERMINE OUTSTANDING
                                      QUESTIONS OF COURT AND
                                      ANSWERS TO QUESTIONS
03/19/18   DESANTIS         SA        REVIEW OF FEBRUARY 20,              0.2       $72.00
                                      2018 O'DEA DECLARATION TO
                                      DETERMINE OUTSTANDING
                                      QUESTIONS OF COURT AND
                                      ANSWERS TO QUESTIONS
03/19/18   DESANTIS         SA        REVIEW OF MARCH 16, 2018            0.4      $144.00
                                      GRACE DECLARATION TO
                                      DETERMINE OUTSTANDING
                                      QUESTIONS OF COURT AND
                                      ANSWERS TO QUESTIONS
03/19/18   DESANTIS         SA        REVIEW OF FEBRUARY 8                0.7      $252.00
                                      STATUS CONFERENCE
                                      TRANSCRIPT TO DETERMINE

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Date       Attorney         Task      Description                       Hours      Amount
                                      OUTSTANDING QUESTIONS
                                      OF COURT AND ANSWERS TO
                                      QUESTIONS
03/19/18   DESANTIS         SA        REVIEW OF DECEMBER                  0.7      $252.00
                                      STATUS CONFERENCE
                                      TRANSCRIPT TO DETERMINE
                                      OUTSTANDING QUESTIONS
                                      OF COURT AND ANSWERS TO
                                      QUESTIONS
03/19/18   DESANTIS         SA        EMAIL WITH M. MANNING RE:           0.2       $72.00
                                      OUTSTANDING ISSUES
                                      RAISED BY COURT RE SALE
                                      PROCESS
03/19/18   DESANTIS         SA        EMAIL WITH M. MANNING RE:           0.2       $72.00
                                      LEASES REVIEWED
03/19/18   DESANTIS         SA        EMAIL WITH M. MANNING RE:           0.2       $72.00
                                      PROPOSED ORDER TO SALE
                                      MOTION
03/19/18   DESANTIS         SA        REVISE PROPOSED ORDER               0.8      $288.00
                                      TO SALE MOTION
03/19/18   KURTH            SA        PREPARE FOR HEARING RE              0.5      $325.00
                                      SALE MOTION
03/19/18   KURTH            SA        CONFER WITH M.MANNING RE            0.0   NO CHARGE
                                      ANALYSIS OF INSURED-V-
                                      INSURED ISSUES (BILL, NO
                                      CHARGE)
03/19/18   KURTH            SA        CONFER WITH M.MANNING RE            0.2      $130.00
                                      ANALYSIS OF EQUIPMENT
                                      OWNERSHIP/LEASES/RECHAR
                                      ACTERIZATION ISSUES IN
                                      ORDER TO DETERMINE
                                      ESTATE'S INTERSET AND
                                      LIKELY RECOVERY FROM
                                      NON-SIMPSON ASSETS
03/19/18   KURTH            SA        REVIEW DRAFT OF                     0.1       $65.00
                                      DISTRIBUTION ANALYSIS
03/19/18   KURTH            SA        PREPARE FOR CORE SALE               0.1       $65.00
                                      HEARING (TELEPHONIC
                                      APPEARANCE)
03/19/18   KURTH            SA        REVIEW CORRESPONDENCE               0.2      $130.00
                                      FROM A.RHIM RE SALE
                                      HEARING
03/19/18   KURTH            SA        REVIEW TIGER'S LIQUIDATION          0.2      $130.00
                                      PROPOSAL.
03/19/18   KURTH            SA        PREPARE                             0.1       $65.00
                                      CORRESPONDENCE TO
                                      A.RHIM RE TIGER'S
                                      LIQUIDATION PROPOSAL.
03/19/18   KURTH            SA        PREPARE                             0.1       $65.00
                                      CORRESPONDENCE TO
                                      M.MANNING RE NOTICE OF
                                      SUBMISSION OF TIGER'S
                                            Page 24
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Date       Attorney         Task      Description                       Hours      Amount
                                      LIQUIDATION PROPOSAL.
03/19/18   KURTH            SA        REVIEW COURT'S TENTATIVE            0.2      $130.00
                                      RULING RE SALE
03/19/18   KURTH            SA        REVIEW CORRESPONDENCE               0.1       $65.00
                                      FROM S.HEINZ RE AMENDED
                                      NOTICE OF HEARING, AND
                                      AMENDED NOTICE OF
                                      HEARING
03/19/18   KURTH            SA        REVIEW CORRESPONDENCE               0.1       $65.00
                                      FROM R.FEFFERMAN RE 12/20
                                      HEARING TRANSCRIPT
03/19/18   KURTH            SA        PREPARE                             0.0   NO CHARGE
                                      CORRESPONDENCE TO
                                      R.FEFERMAN AND J.O'DEA
                                      WITH COPY TO M.MANNING
                                      RE REQUEST FOR COPY OF
                                      DEBTOR'S D&O INSURANCE
                                      POLICY TO ADDRESS
                                      COURT'S TENTATIVE RULING
                                      RE OSC (BILL, NO CHARGE)
03/19/18   KURTH            SA        REVIEW FILED PLEADINGS              0.5      $325.00
                                      AND PREPARE FOR HEARING
                                      RE SALE
03/19/18   KURTH            SA        PRELIMINARY REVIEW OF               0.0   NO CHARGE
                                      MANAGEMENT LIABILITY
                                      POLICY, FIDUCIARY LIABILITY
                                      POLICY, AND DECLARATIONS
                                      AND CORRESPONDENCE
                                      FROM J.O'DEA AND
                                      R.FEFERMAN RE SAME (BILL,
                                      NO CHARGE)
03/19/18   KURTH            SA        TELEPHONE CONFERENCE                1.5      $975.00
                                      WITH R.FEFERMAN TO
                                      REVIEW AND REVISE
                                      LIQUIDATION BUDGET IN
                                      ORDER TO ADDRESS COURTS
                                      SALE ISSUES
03/19/18   KURTH            SA        PREPARE                             0.1       $65.00
                                      CORRESPONDENCE TO
                                      K.DESANTIS RE 12/20
                                      HEARING TRANSCRIPT AND
                                      PREPARATION FOR HEARING
03/19/18   MANNING          SA        CORRESPOND WITH K.                  0.1       $40.50
                                      DESANTIS RE: LEASES
03/19/18   MANNING          SA        CORRESPOND WITH K.                  0.2       $81.00
                                      DESANTIS RE: PROPOSED
                                      SALE ORDER
03/19/18   MANNING          SA        CORRESPOND WITH M.                  0.2       $81.00
                                      KURTH RE: INSURED VS
                                      INSURED ISSUE
03/19/18   MANNING          SA        CORRESPOND WITH M.                  0.2       $81.00
                                      KURTH RE: ANALYSIS OF
                                      EQUIPMENT

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Date       Attorney         Task      Description                       Hours      Amount
                                      OWNERSHIP/LEASES
03/19/18   MANNING          SA        EXCHANGE                            0.2       $81.00
                                      CORRESPONDENCE WITH R.
                                      FEFERMAN RE: SALE/BID
                                      PROCEDURES
03/19/18   MANNING          SA        CORR WITH I DINSMORE RE:            0.2       $81.00
                                      PROCEDURE FOR
                                      REQUESTING TELEPHONIC
                                      APPEARANCE
03/19/18   MANNING          SA        FINAL REVISION AND                  3.7     $1,498.50
                                      CIRCULATION OF APA
03/19/18   MANNING          SA        CORRESPONDENCE WITH S.              0.2       $81.00
                                      HINZE, K. DESANTIS RE:
                                      PROCEDURAL COMPLIANCE
                                      OF PROPOSED ORDERS
03/19/18   MANNING          SA        PREPARE FOR HEARING                 0.2       $81.00
03/19/18   MANNING          SA        REVIEW K DESANTIS FINAL             0.3      $121.50
                                      LIST OF "LEASED"
                                      EQUIPMENT
03/19/18   MANNING          SA        REVIEW LIST OF                      0.1       $40.50
                                      PREPARATION QUESTIONS
                                      FOR R. FERERMAN
03/19/18   MANNING          SA        REVIEW ORDER SCHEDULING             0.4      $162.00
                                      HEARING/COORDINATE WITH
                                      DEBTOR'S COUNSEL RE:
                                      SALE OF SAME
03/19/18   MANNING          SA        REVIEW DRAFT NOTICE OF              0.3      $121.50
                                      MOTION/CORR W. K.
                                      DESANTIS RE: SAME
03/19/18   MANNING          SA        PREPARE AND FACILITATE              1.1      $445.50
                                      FILING AND SERVICE OF RED-
                                      LINED COPY OF APA AND
                                      NOTICE OF SUBMISSION
                                      THEREOF
03/19/18   MANNING          SA        PREPARE AND FACILITATE              0.4      $162.00
                                      FILING AND SERVICE OF
                                      NOTICE OF SUBMISSION OF
                                      TIGER REPORT
03/19/18   MANNING          SA        CORRESPONDENCE WITH M.              0.1       $40.50
                                      KURTH RE: TIGER'S
                                      LIQUIDATION PROPOSAL
03/19/18   NEFF             SA        REVIEW D&O POLICY IN                0.0   NO CHARGE
                                      DETAIL TO CONFIRM
                                      WHETHER INSURED V.
                                      INSURED EXCEPTION
                                      APPLIES TO ADVERSARY
                                      PROCEEDING AGAINST D&OS
                                      OF COMPANY (BILL, NO
                                      CHARGE)
03/19/18   NIEDERMAN        SA        ATTENTION TO INQUIRY RE             0.0   NO CHARGE
                                      D&O COVERAGES AND


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Date       Attorney         Task      Description                       Hours      Amount
                                      EXCLUSIONS
03/20/18   BIRD             SA        RESEARCH CASE LAW                   0.0   NO CHARGE
                                      CONCERNING INSURED V
                                      INSURED LITIGATION
03/20/18   DESANTIS         SA        EMAIL WITH M. KURTH RE:             0.2       $72.00
                                      QUESTIONS TO BE
                                      ANSWERED FOR SALE
                                      HEARING
03/20/18   DESANTIS         SA        PREPARE CHART RE:                   3.1     $1,116.00
                                      OUTSTANDING QUESTIONS
                                      OF COURT AND ANSWERS TO
                                      QUESTIONS FOR SALE
                                      HEARING AND PREPARATION
                                      OF CHART RE: SAME
03/20/18   DESANTIS         SA        ATTENTION TO EMAIL FROM             0.1       $36.00
                                      R. FEFERMAN RE: STAY OF
                                      RELIEF REQUESTED
03/20/18   KURTH            SA        EXCHANGE E-MAIL                     0.1       $65.00
                                      CORRESPONDENCE WITH
                                      S.HEINZ AND
                                      R.FEFERMAN/J.O'DEA RE
                                      UPDATED REPORTING RE B26
                                      REPORT / INFORMATION
                                      REGARDING VALUE OF
                                      SUBSIDIARY INTERESTS TO
                                      BE SOLD
03/20/18   KURTH            SA        REVIEW SUPPLEMENTAL                 0.2      $130.00
                                      FILINGS IN PREPARATION
                                      FOR SALE HEARING
03/20/18   KURTH            SA        REVIEW COURT'S TENTATIVE            0.2      $130.00
                                      AND
                                      NOTES/CORRESPONDENCE,
                                      LIST OF ALL REMAINING OPEN
                                      ITEMS TO PREPARE FOR
                                      HEARING
03/20/18   KURTH            SA        REVIEW VARIOUS                      0.2      $130.00
                                      CORRESPONDENCE FROM
                                      T.FAWKES RE BERLIN
                                      EQUIPMENT, JOINDER TO
                                      SALE MOTION, AND REQUEST
                                      FOR STIPULATION FOR STAY
                                      RELIEF
03/20/18   KURTH            SA        PREPARE                             0.2      $130.00
                                      CORRESPONDENCE TO
                                      T.FAWKES IN RESPONSE TO
                                      OPEN ISSUES RE BERLIN
                                      EQUIPMENT, JOINDER TO
                                      SALE MOTION, AND WITH
                                      COMMENTS TO PROPOSED
                                      STAY RELIEF STIPULATION
03/20/18   KURTH            SA        PREPARE                             0.1       $65.00
                                      CORRESPONDENCE TO
                                      S.HEINZ AND R.FEFFERMAN
                                      RE PROPOSED STAY RELEIF

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Date       Attorney         Task      Description                       Hours      Amount
                                      MOTION TO BERLIN
03/20/18   KURTH            SA        CONFER WITH M.MANNING RE            0.4      $260.00
                                      PREPARATION FOR SALE
                                      HEARING AND ESPECIALLY
                                      COURT'S TENTATIVE RULING
                                      AND RESOLUTION OF OPEN
                                      ISSUES RE LIST OF
                                      EQUIPMENT TO BE SOLD,
                                      BERLIN EQUIPMENT,
                                      PROVINCE LEASES, AND
                                      ADJUSTMENTS TO THE
                                      SCHEDULES; COORDINATION
                                      WITH BERLIN RE SAME; AND
                                      K.DESANTIS ANALYSIS OF
                                      SCHEDULES AND
                                      DOCUMENTATION TO
                                      IDENTIFY TRUE
                                      LEASES/DISGUISED
                                      SECURITY INTERESTS AND
                                      PROPERLY VALUE ESTATE
                                      INTEREST IN NON-SIMPSON
                                      EQUIPMENT
03/20/18   KURTH            SA        REVIEW CORRESPONDENCE               0.0   NO CHARGE
                                      FROM C.NEFF RE INSURED-V-
                                      INSURED EXCLUSIONS AND
                                      D&O INSURANCE POLICY
03/20/18   KURTH            SA        REVIEW COMMITTEE                    0.0   NO CHARGE
                                      OBJECTIONS RE
                                      PRESERVATION OF
                                      INSURANCE COVERAGE AND
                                      ANALYSIS OF INSURED-V-
                                      INSURED ISSUES FROM
                                      AURASOUND IN
                                      PREPARATION FOR REVIEW
                                      AND RESEARCH RE CORE
                                      D&O POLICIES
03/20/18   KURTH            SA        REVIEW I.DENSMORE                   0.1       $65.00
                                      SUMMARY OF EQUIPMENT
                                      BOOK VALUES / CURRENT
                                      VALUES
03/20/18   KURTH            SA        REVIEW CORRESPONDENCE               0.2      $130.00
                                      FROM J.O'DEA RE SIMPSON
                                      RELATIONSHIP IN RESPONSE
                                      TO COURT'S COMMENTS IN
                                      TENTATIVE AND PRIOR
                                      ORDERS, TRANSCRIPTS
03/20/18   KURTH            SA        REVIEW CORRESPONDENCE               0.1       $65.00
                                      FROM S.HEINZ RE FEBRUARY
                                      MOR SUBMISSION IN
                                      REPOSNSE TO COURT'S
                                      TENTATIVE SALE CONCERNS
03/20/18   KURTH            SA        REVIEW AND RESPOND TO               0.2      $130.00
                                      CORRESPONDENCE FROM
                                      B.JACKIW RE STAY RELIEF RE
                                      BERLIN COLLATERAL


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Date       Attorney         Task      Description                       Hours      Amount
03/20/18   KURTH            SA        TELEPHONE CONFERENCE                0.3      $195.00
                                      WITH B.JACKIW RE STAY
                                      RELIEF RE BERLIN
                                      COLLATERAL
03/20/18   KURTH            SA        TELEPHONE CONFERENCE                1.0      $650.00
                                      WITH A.RHIM AND
                                      R.FEFERMAN RE
                                      DISTRIBUTION ANALYSIS,
                                      PREPARATION FOR SALE
                                      HEARING
03/20/18   KURTH            SA        PREPARE                             0.1       $65.00
                                      CORRESPONDENCE TO
                                      R.FEFERMAN, J.O'DEA,
                                      M.MANNING AND K.DESANTIS
                                      IN PREPARATION FOR
                                      HEARING/RESPONSIVE TO
                                      TENTATIVE
03/20/18   KURTH            SA        REVIEW PROPOSAL RE STAY             0.2      $130.00
                                      RELIEF, STORAGE OF
                                      EQUIPMENT, ETC.
03/20/18   KURTH            SA        PREPARE                             0.1       $65.00
                                      CORRESPONDENCE TO
                                      M.MANNING AND
                                      R.FEFFERMAN RE
                                      EQUIPMENT BOOK V.
                                      CURRENT VALUES TO ASSIST
                                      IN ESTIMATING VALUE OF
                                      ANY EQUIPMENT REMOVED
                                      FROM THE SIMPSON APA
03/20/18   MANNING          SA        REVIEW AND UPDATE                   1.1      $445.50
                                      SERVICE LIST PER
                                      NEW/REVISED SERVICE
                                      ADDRESSES
03/20/18   MANNING          SA        CONFER WITH M. KURTH RE:            0.3      $121.50
                                      PREPARATION FOR SALES
                                      HEARING ESPECIALLY
                                      COURT'S TENTATIVE
                                      RULINGS AND RESOLUTION
                                      OF OPEN ISSUES
03/20/18   MANNING          SA        REVIEW COURT'S TENTATIVE            1.6      $648.00
                                      RULINGS AND PREPARE
                                      RESPONSES THERETO
03/20/18   MANNING          SA        FINALIZE SALE DOCUMENTS             1.5      $607.50
03/20/18   MANNING          SA        REVIEW B26 REPORT                   0.5      $202.50
03/20/18   MANNING          SA        REVIEW LIST OF COURT'S              0.3      $121.50
                                      QUESTIONS THAT REMAIN
03/20/18   MANNING          SA        REVIEW LIST FROM R.                 0.3      $121.50
                                      FEFERMAN RE: ITEMS NOT
                                      ENCUMBERED BY BANK OF
                                      AMERICA LIEN
03/20/18   MANNING          SA        CORRESPOND WITH R.                  0.6      $243.00
                                      FEFERMAN, M. KURTH, T.
                                      YOUNG RE: BERLIN
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Date       Attorney         Task      Description                       Hours      Amount
                                      STIPULATION RE: LEASE AND
                                      SUPPORT OF SALE
03/20/18   MANNING          SA        REVIEW LIST OF DEPOSITS             0.3      $121.50
                                      TO BE ASSUMED BY
                                      SIMPSON,
03/20/18   MANNING          SA        CONFER WITH CREDITORS               0.3      $121.50
                                      RESPONDING TO NOTICE OF
                                      SALE HEARING
03/20/18   MANNING          SA        CORRESPOND WITH M.                  0.2       $81.00
                                      YOUNG RE: REVISED APA
                                      AND EXECUTION THEREOF
03/20/18   MANNING          SA        REVIEW 2 NEW TENTATIVE              0.4      $162.00
                                      RULINGS OF THE COURT
03/20/18   MANNING          SA        CORRESPOND WITH M.                  0.8      $324.00
                                      YOUNG, R. FEFERMAN RE:
                                      SIMPSON'S CLAIM TO
                                      ADDITIONAL A/R
03/20/18   MANNING          SA        FORWARD SALE DOCUMENT               0.1       $40.50
                                      TO S. HINZE
03/20/18   MANNING          SA        FACILITATE FILING OF SALE           0.5      $202.50
                                      DOCUMENTS
03/20/18   MANNING          SA        CORRESPOND WITH S. HINZE,           0.1       $40.50
                                      M. KURTH RE: B26 REPORT
03/20/18   MANNING          SA        CONFER WITH J. O'DEA RE:            0.1       $40.50
                                      DEPOSITS TO BE ASSUMED
03/20/18   NIEDERMAN        SA        REVIEW D&O POLICY                   0.0   NO CHARGE
                                      EXCLUSIONS AND CONFER
                                      WITH CO-COUNSEL RE SAME
03/21/18   KURTH            SA        TELEPHONE CONFERENCE                0.2      $130.00
                                      WITH J.O'DEA RE
                                      PREPARATION FOR SALE
                                      HEARING
03/21/18   KURTH            SA        REVIEW S.HEINZ PROPOSED             0.2      $130.00
                                      STAY RELIEF ORDER WITH
                                      BERLIN AND PROVIDE
                                      COMMENTS RE SAME.
03/21/18   KURTH            SA        TELEPHONE CONFERENCE                1.0      $650.00
                                      WITH R.FEFERMAN RE
                                      LENDER'S PROPOSED CASH
                                      COLLATERAL STIPULATION
                                      AND IMPACT ON BUDGET AND
                                      DISTRIBUTION OF SALE
                                      PROCEEDS IN RESPONSE TO
                                      COURT'S QUESTIONS
03/21/18   KURTH            SA        TELEPHONE CONFERENCE                0.5      $325.00
                                      WITH R.FEFERMAN AND
                                      A.RHIM RE LENDER'S
                                      PROPOSED CASH
                                      COLLATERAL STIPULATION
                                      AND IMPACT ON BUDGET AND
                                      DISTRIBUTION OF SALE
                                      PROCEEDS IN RESPONSE TO
                                            Page 30
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                                               75
Date       Attorney         Task      Description                       Hours      Amount
                                      COURT'S QUESTIONS
03/21/18   KURTH            SA        REVIEW AND RESPOND TO               0.1       $65.00
                                      EMAIL FROM S.HEINZ RE
                                      TREATMENT OF MARLIN
                                      SECURITY INTEREST -
                                      POSSIBLY UNPERFECTED
03/21/18   KURTH            SA        PREPARE FOR SALE HEARING            1.0      $650.00
03/21/18   KURTH            SA        TELEPHONIC APPEARANCE               1.5      $975.00
                                      AT SALE HEARING
03/21/18   MANNING          SA        FORMAT AMENDED                      0.4      $162.00
                                      LIQUIDATION ANALYSIS AND
                                      FORWARD TO S. HINZE FOR
                                      FILING
03/21/18   MANNING          SA        CONFER WITH J. O'DEA, M.            0.4      $162.00
                                      YOUNG, D. GRACE RE:
                                      RECONCILIATION OF A/R
                                      WITH SIMPSON
03/21/18   MANNING          SA        REVIEW DRAFT STIPULATION            0.6      $243.00
                                      FROM RELIEF FROM STAY
                                      WITH BERLIN AND BERLIN
                                      COMMENTS THERETO
03/21/18   MANNING          SA        CONFER WITH S. HINZE RE:            0.2       $81.00
                                      CREDITOR MARLIN
                                      PERFECTION ISSUES
03/21/18   MANNING          SA        FACILITATE EXCHANGE AND             0.3      $121.50
                                      FILING OF EXECUTED APA'S
03/21/18   MANNING          SA        REVIEW STATUS OF WIRE               0.2       $81.00
                                      TRANSFER
03/21/18   MANNING          SA        REVIEW UPDATE OF                    0.1       $40.50
                                      CUSTOMER DEPOSIT
                                      INFORMATION
03/21/18   MANNING          SA        CORRESPOND WITH J. O'DEA            0.3      $121.50
                                      AND A. MYERS RE: PROVINCE
                                      INVENTORY
03/21/18   MANNING          SA        PREPARE AND FACILITATE              0.6      $243.00
                                      FILING OF DECLARATIONS OF
                                      SERVICE RE NOTICE OF SALE
                                      HEARING
03/21/18   MANNING          SA        CONFER WITH NOTICE PARTY            0.2       $81.00
                                      TO SALE NOTICE
03/21/18   MANNING          SA        REVIEW LIQUIDATION                  0.4      $162.00
                                      ANALYSIS INFORMATION
                                      FROM TIGER
03/21/18   MANNING          SA        CONFER WITH M. YOUNG RE:            0.2       $81.00
                                      SALE MOTION
03/21/18   MANNING          SA        TELEPHONICALLY ATTEND               1.0      $405.00
                                      SALE HEARING
03/21/18   MANNING          SA        BEGIN PREPARATION OF                3.1     $1,255.50
                                      SALE MOTION


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                                               75
Date       Attorney         Task      Description                       Hours      Amount
03/22/18   BADDON           SA        DRAFT AND SEND M. KURTH             0.0   NO CHARGE
                                      ANALYSIS OF POTENTIAL
                                      PERSONAL LIABILITY FOR
                                      DIRECTORS AND OFFICERS
                                      FOR UNPAID WAGES UNDER
                                      CALIFORNIA LABOR CODE.
03/22/18   DESANTIS         SA        REVISE APPLICATION FOR              1.2      $432.00
                                      ORDER APPROVING
                                      EMPLOYMENT OF FOX
                                      ROTHSCHILD AS SPECIAL
                                      COUNSEL AND
                                      DECLARATIONS IN SUPPORT
                                      THEREOF
03/22/18   DESANTIS         SA        PREPARE NOTICE OF                   0.6      $216.00
                                      APPLICATION FOR ORDER
                                      APPROVING EMPLOYMENT OF
                                      FOX ROTHSCHILD AS
                                      SPECIAL COUNSEL
03/22/18   DESANTIS         SA        PREPARE ORDER APPROVING             0.6      $216.00
                                      EMPLOYMENT OF FOX
                                      ROTHSCHILD AS SPECIAL
                                      COUNSEL
03/22/18   KURTH            SA        REVIEW AND RESPOND TO               0.1       $65.00
                                      CORRESPONDENCE FROM
                                      M.SALAZAR RE SALE OF NON-
                                      SIMPSON EQUIPMENT
03/22/18   KURTH            SA        REVIEW AND RESPOND TO               0.1       $65.00
                                      CORRESPONDENCE FROM
                                      R.FEFERMAN RE SALE OF
                                      PROVIDENCE EQUIPMENT
03/22/18   KURTH            SA        TELEPHONE CONFERENCE                0.4      $260.00
                                      WITH R.FEFERMAN AND
                                      J.O'DEA RE CUSTOMER
                                      INQUIRIES AND
                                      CORE/SIMPSON TRANSITION
03/22/18   KURTH            SA        PREPARE                             0.1       $65.00
                                      CORRESPONDENCE TO
                                      M.YOUNG, R.FEFERMAN AND
                                      M.MANNING RE CUSTOMER
                                      INQUIRIES AND
                                      CORE/SIMPSON TRANSITION
03/22/18   KURTH            SA        PREPARE                             0.0   NO CHARGE
                                      CORRESPONDENCE TO
                                      N.YAFFEE RE PAYROLL
                                      LIABILITY QUESTIONS
03/22/18   KURTH            SA        TELEPHONE CONFERENCE                0.0   NO CHARGE
                                      WITH R.FEFERMAN RE
                                      PAYROLL LIABILITY ISSUES
                                      AND CASH COLLATERAL
                                      BUDGET
03/22/18   KURTH            SA        CONFER WITH M.MANNING RE            0.3      $195.00
                                      SALE ORDER AND OPEN
                                      ISSUES RE SIMPSON/CORE
                                      TRANSACTION AND

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                                               75
Date       Attorney         Task      Description                       Hours      Amount
                                      REJECTION OF LEASES,
                                      EQUIPMENT
03/22/18   MANNING          SA        CONFER WITH M. YOUNG RE:            0.2       $81.00
                                      DRAFT SALE MOTION
03/22/18   MANNING          SA        CONFER WITH S. HINZE RE             0.2       $81.00
                                      MOTION TO REJECT
                                      EXECUTORY LEASES
03/22/18   MANNING          SA        CONFER WITH M. KURTH RE:            0.3      $121.50
                                      OPEN ISSUES WITH RESPECT
                                      TO SIMPSON TRANSACTION
                                      AND REJECTION OF LEASES
03/22/18   MANNING          SA        COMPLETE DRAFT OF AND               3.5     $1,417.50
                                      CIRCULATE SALE MOTION
03/22/18   MANNING          SA        REVIEW COMMENTS TO                  2.3      $931.50
                                      DRAFT APA AND UPDATE
                                      ACCORDINGLY
03/22/18   MANNING          SA        CONFER WITH CHAMBERS, M.            0.3      $121.50
                                      KURTH RE: FILING OF SALE
                                      MOTION
03/22/18   MANNING          SA        CONFER WITH M. YOUNG, D.            0.3      $121.50
                                      ORTIZ, A RIHM RE: APA
03/23/18   DESANTIS         SA        ATTENTION TO EMAIL AMONG            0.4      $144.00
                                      COUNSEL RE: SALE ORDER
03/23/18   KURTH            SA        REVIEW AND EXECUTE APA              0.1       $65.00
                                      ORDER
03/23/18   KURTH            SA        TELEPHONE CONFERENCE                0.1       $65.00
                                      WITH R.FEFERMAN RE SALE
                                      CLOSING
03/23/18   KURTH            SA        PREPARE DETAILED                    0.5      $325.00
                                      CORRESPONDENCE TO
                                      S.HEINZ AND R.FEFERMAN
                                      OUTLINING PROPOSED
                                      PROCEDURES FOR
                                      REJECTING LEASES AND
                                      CONTRACTS, LANGUAGE FOR
                                      APPROVAL OF EXPEDITED
                                      REJECTION PROCEDURES
                                      AND RECOMMENDATIONS RE
                                      SAME IN PREPARATION FOR
                                      FURTHER ASSET SALES
03/23/18   MANNING          SA        CONFER WITH COUNSEL TO              0.8      $324.00
                                      BERLIN AND A. MYERS RE:
                                      RECONCILING APA EXHIBIT
                                      TO PROPERLY REFLECT THAT
                                      BERLIN ASSETS WERE NOT
                                      FOR SALE AND NOT PART OF
                                      THE EXHIBIT
03/23/18   MANNING          SA        FACILITATE FINAL FILING AND         0.8      $324.00
                                      SERVICE OF APA
03/23/18   MANNING          SA        REVIEW SIMPSON NOTICE TO            0.4      $162.00
                                      CUSTOMERS AND CONFER
                                      WITH COUNSEL REGARDING
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Date       Attorney         Task      Description                       Hours      Amount
                                      SAME
03/23/18   MANNING          SA        PROVIDE CUSTOMER                    0.1       $40.50
                                      SERVICE LIST TO SIMPSON
03/23/18   MANNING          SA        CONFER WITH R. FEFERMAN,            0.2       $81.00
                                      S. HINZE RE: LEASE
                                      REJECTION MOTION IN
                                      SUPPORT OF SALE
03/23/18   MANNING          SA        REVIEW REVISIONS TO                 0.4      $162.00
                                      STIPULATION WITH BERLIN
03/23/18   MANNING          SA        REVIEW AND INCORPORATE              0.6      $243.00
                                      BOFA FINAL COMMENTS TO
                                      SALE ORDER AND
                                      RECIRCULATE TO GROUP
03/23/18   MANNING          SA        CONFER WITH R FEFERMAN              0.2       $81.00
                                      RE: SEGREGATED SALES
                                      PROCEEDS ACCOUNT
03/23/18   MANNING          SA        DRAFT FINAL SALE ORDER              0.6      $243.00
03/23/18   MANNING          SA        COLLECT SIGNATURES FOR              0.3      $121.50
                                      FINAL DRAFT OF SALE ORDER
                                      AND FACILITATE FILING OF
                                      SAME
03/23/18   MANNING          SA        REVIEW SPREADSHEET AND              0.6      $243.00
                                      CONFER WITH A. MYERS RE:
                                      BERLIN ASSETS
03/26/18   BADDON           SA        DRAFT AND SEND EMAIL                0.0   NO CHARGE
                                      REGARDING IMPLICATION OF
                                      LABOR CODE SECTION 558.1
                                      AND BANKRUPTCY.
03/26/18   KURTH            SA        TELEPHONE CONFERENCE                0.1       $65.00
                                      WITH R.FEFERMAN RE
                                      CORE/SIMPSON SALE
                                      CLOSING
03/26/18   KURTH            SA        EXCHANGE E-MAIL                     0.0   NO CHARGE
                                      CORRESPONDENCE WITH
                                      M.MANNING, AND A.RHIM, US
                                      TRUSTEE RE AMENDED SALE
                                      ORDER, NOTICE OF ERRATA
                                      AND REDLINE (BILL, NO
                                      CHARGE)
03/26/18   KURTH            SA        TELEPHONE CONFERENCE                0.5      $325.00
                                      WITH S.HEINZ AND (PARTIAL
                                      PARTICIPATION) M.MANNING
                                      RE SALE CLOSING
03/26/18   KURTH            SA        FINALIZE CORE APA ORDER             0.5      $325.00
03/26/18   KURTH            SA        TELEPHONE CONFERENCE                0.2      $130.00
                                      WITH A. RHIM RE BANK'S
                                      SIGNATURE ON APA ORDER
03/26/18   KURTH            SA        EXCHANGE E-MAIL                     0.2      $130.00
                                      CORRESPONDENCE WITH
                                      S.HEINZ, M.MANNING,
                                      R.FEFERMAN RE APA ORDER

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Date       Attorney         Task      Description                       Hours      Amount
03/26/18   KURTH            SA        REVIEW AND RESPOND TO               0.2      $130.00
                                      CORRESPONDENCE FROM
                                      M.SALAZAR RE OFFER TO
                                      PURCHASE NON-SIMPSON
                                      ASSETS WITH COPY TO
                                      R.FEFERMAN AND
                                      M.MANNING
03/26/18   KURTH            SA        REVIEW AND RESPOND TO               0.2      $130.00
                                      CORRESPONDENCE (2X)
                                      FROM R.FEFERMAN RE
                                      SEGREGATED ACCOUNT FOR
                                      SALE PROCEEDS
03/26/18   KURTH            SA        REVIEW AND RESPOND TO               0.0   NO CHARGE
                                      CORRESPONDENCE FROM L.
                                      BADDON RE PAYROLL
                                      QUESTIONS, TREATMENT OF
                                      CLAIMS AND ISSUES RAISED
                                      BY R.FEFERMAN
03/26/18   KURTH            SA        REVIEW DRAFT OF BERLIN              0.3      $195.00
                                      STAY RELIEF STIPULATION
                                      AND PROVIDE COMMENTS TO
                                      S.HEINZ
03/26/18   KURTH            SA        TELEPHONE CONFERENCE                0.3      $195.00
                                      WITH S. HEINZ AND M.
                                      MANNING RE REJECTION OF
                                      LEASES/EXECUTORY
                                      CONTRACTS
03/27/18   KURTH            SA        EXCHANGE E-MAIL                     0.1       $65.00
                                      CORRESPONDENCE WITH
                                      C.ZUVER RE SUBLEASE
                                      AGREEMENT
03/28/18   BADDON           SA        ANALYZE POTENTIAL                   0.0   NO CHARGE
                                      IMPLICATION FOR PERSONAL
                                      LIABILITY OF DIRECTORS AND
                                      OFFICERS WHILE COMPANY
                                      IS PROCEEDING THROUGH
                                      BANKRUPTCY.
03/28/18   EMERSON          SA        COORDINATE PREPARATION              0.9      $297.00
                                      OF STATUS REPORT RE SALE
                                      CLOSING FOR FILING;
                                      CORRESPONDENCE WITH M.
                                      KURTH AND M. MANNING
03/28/18   KURTH            SA        TELEPHONE CONFERENCE                0.5      $325.00
                                      WITH R.FEFFERMAN RE
                                      FURTHER LIQUIDATION
                                      SALES
03/28/18   KURTH            SA        EXCHANGE E-MAIL                     0.2      $130.00
                                      CORRESPONDENCE WITH
                                      S.HEINZ RE LEASE
                                      REJECTION MOTION AND
                                      REJECTION PROCEDURES IN
                                      SUPPORT OF FURTHER
                                      LIQUIDATION SALES



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Date       Attorney         Task      Description                       Hours      Amount
03/28/18   KURTH            SA        PREPARE                             0.1       $65.00
                                      CORRESPONDENCE TO
                                      R.FEFERMAN RE REJECTION
                                      OF CONTRACTS/LEASES IN
                                      SUPPORT OF FUTHER
                                      LIQUIDATION SALES
03/28/18   KURTH            SA        DRAFT CORE STATUS                   1.5      $975.00
                                      REPORT RE SALE CLOSING
                                      AND NEXT STEPS
03/28/18   KURTH            SA        TELEPHONE CONFERENCE                0.5      $325.00
                                      WITH R.FEFERMAN RE
                                      PREPARATION FOR
                                      CONTINUED OSC HEARING
03/28/18   MANNING          SA        REVIEW NARRATIVE OF A.              0.4      $162.00
                                      MYERS FOR DECLARATION
03/28/18   MANNING          SA        REVIEW ESTIMATES ON                 0.4      $162.00
                                      AVOIDANCE ACTION
                                      RECOVERIES
03/28/18   MANNING          SA        REVIEW EMAIL FROM R.                0.1       $40.50
                                      FEFERMAN RE: SALES
                                      PROCEEDS ACCOUNT
03/28/18   MANNING          SA        REVIEW DRAFT STATUS                 0.3      $121.50
                                      REPORT
03/28/18   MANNING          SA        REVIEW R. FEFERMAN                  0.1       $40.50
                                      NARRATIVE RE: WORKFORCE
                                      REDUCTION FOR
                                      DECLARATION
03/28/18   MANNING          SA        REVIEW EMAIL FROM M.                0.1       $40.50
                                      YOUNG RE: STATUS OF WIRE
03/28/18   MANNING          SA        REVIEW R. FEFERMAN                  0.1       $40.50
                                      COMMENTS TO DECLARATION
03/28/18   MANNING          SA        REVIEW DRAFT MOTION TO              0.6      $243.00
                                      REJECT LEASES
03/28/18   MANNING          SA        REVIEW EMAIL FROM M.                0.1       $40.50
                                      YOUNG RE: TELEPHONIC
                                      APPEARANCE AT 3/29
                                      HEARING
03/28/18   MANNING          SA        REVIEW QUERY FROM BERLIN            0.1       $40.50
                                      COUNSEL RE: STIPULATION
03/28/18   MANNING          SA        COLLECT SIGNATURE PAGES             0.3      $121.50
                                      FOR DECLARATIONS AND
                                      FACILITATE FILING OF
                                      STATUS REPORT
03/28/18   MANNING          SA        REVIEW S. HINZE COMMENTS            0.3      $121.50
                                      TO BERLIN CHANGES TO
                                      STIPULATION
03/29/18   BADDON           SA        RESEARCH AND ANALYZE                0.0   NO CHARGE
                                      STATE AND FEDERAL CASE
                                      LAW REGARDING PERSONAL
                                      LIABILITY FOR DIRECTORS
                                      AND OFFICERS FOR UNPAID
                                            Page 36
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Date       Attorney         Task      Description                       Hours      Amount
                                      WAGES WHEN COMPANY IS IN
                                      BANKRUPTCY.
03/29/18   DESANTIS         SA        EMAIL WITH M. MANNING RE:           0.2       $72.00
                                      LEASES REVIEWED
03/29/18   DESANTIS         SA        EMAIL WITH M. KURTH RE:             0.1       $36.00
                                      EXHIBITS TO APPLICATION
                                      AND DECLARATIONS
                                      APPROVING EMPLOYMENT OF
                                      FOX ROTHSCHILD
03/29/18   KURTH            SA        TELEPHONE CONFERENCE                0.3      $195.00
                                      WITH S.HEINZ RE REJECTION
                                      MOTION AND PROCEDURES
03/29/18   KURTH            SA        REVIEW BERLIN STAY RELIEF           0.3      $195.00
                                      STIPULATION AND PROVIDE
                                      COMMENTS TO T.FAWKES
                                      AND S.HEINZ, R.FEFERMAN
03/29/18   KURTH            SA        REVIEW AND REVISE S.HEINZ           0.0   NO CHARGE
                                      DRAFT LEASE REJECTION
                                      MOTION (BILL, NO CHARGE)
03/29/18   KURTH            SA        PREPARE FOR OSC HEARING             0.5      $325.00
                                      AND REPORT RE SALE
                                      CLOSING
03/29/18   KURTH            SA        REVIEW STATUS REPORT RE             0.5      $325.00
                                      SALE CLOSING
03/29/18   KURTH            SA        TELEPHONE CONFERENCE                0.4      $260.00
                                      WITH R.FEFERMAN RE
                                      REJECTION OF LEASES AND
                                      CONTRACTS
03/29/18   MANNING          SA        PREPARE FOR AND                     1.7      $688.50
                                      PARTICIPATE IN TELEPHONIC
                                      STATUS CONFERENCE WITH
                                      COURT.
03/29/18   MANNING          SA        REVIEW EMAIL FROM R.                0.1       $40.50
                                      FEFERMAN RE: SIMPSON
                                      RETENTION OF J. O'DEA
03/29/18   MANNING          SA        PARTICIPATE IN TELEPHONIC           1.0      $405.00
                                      HEARING
03/29/18   MANNING          SA        EMAIL WITH K. DESANTIS RE:          0.2       $81.00
                                      REVIEWED LEASES
03/30/18   KURTH            SA        TELEPHONE CONFERENCE                0.0   NO CHARGE
                                      WITH A.RHIM RE CASE
                                      CONVERSION AND POSSIBLE
                                      STIPULATION RE SALE
                                      PROCEEDS, COLLATERAL
04/02/18   DENSMORE         SA        REQUEST TELEPHONIC                  0.1       $27.50
                                      HEARING APPEARANCES OF
                                      M. KURTH, M. MANNING AT
                                      HEARING ON 4/2/2018 IN THE
                                      SOUTHERN DISTRICT OF
                                      CALIFORNIA
04/02/18   KURTH            SA        TELEPHONE CONFERENCE                0.5      $325.00

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Date         Attorney                  Task    Description                        Hours           Amount
                                               WITH R.FEFERMAN RE
                                               M.CAMP/BUYER CONCERNS
                                               RE NEGATIVE IMPACT OF
                                               CONVERSION ON THE POST-
                                               CLOSING SALE MATTERS
04/02/18     MANNING                   SA      DRAFT MANNING PRO HAC                0.3           $121.50
                                               VICE MOTION
                                                                     TOTAL        252.6     $120,089.00


TASK SUMMARY:

Task             Description                                                      Hours             Total
EA1              EMPLOYMENT APPLICATION OF FOX ROTHSCHILD LLP                      13.0       $6,525.50
FA1              FEE APPLICATION OF FOX ROTHSCHILD LLP                              8.1       $2,650.00
SA               USE, SALE OR LEASE OF PROPERTY                                   231.5     $110,913.50


ATTORNEY TIME SUMMARY:

Attorney                       Title                      Hours        Rate               Total
M. H. KURTH                    PARTNER                       85.2    $650.00       $55,380.00
M. H. KURTH                    PARTNER                        0.0      $0.00              $0.00
C. D. NEFF                     PARTNER                        0.0      $0.00              $0.00
S. A. NIEDERMAN                PARTNER                        0.0      $0.00              $0.00
L. BADDON                      ASSOCIATE                      0.0      $0.00              $0.00
L. J. BIRD                     ASSOCIATE                     14.9    $430.00        $6,407.00
L. J. BIRD                     ASSOCIATE                      0.0      $0.00              $0.00
K. DESANTIS                    ASSOCIATE                     39.1    $360.00       $14,076.00
C. A. EMERSON                  ASSOCIATE                      5.0    $350.00        $1,750.00
C. A. EMERSON                  ASSOCIATE                      0.9    $330.00          $297.00
M.M. MANNING                   ASSOCIATE                     95.3    $405.00       $38,596.50
P. M. CHLUM                    PARALEGAL                      0.2    $295.00           $59.00
I. D. DENSMORE                 PARALEGAL                      2.9    $290.00          $841.00
I. D. DENSMORE                 PARALEGAL                      7.1    $275.00        $1,952.50
J. DISTANISLAO                 PARALEGAL                      2.0    $365.00          $730.00
                                              TOTAL       252.6                   $120,089.00

                                                        TOTAL PROFESSIONAL SERVICES         $120,089.00




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COSTS ADVANCED AND EXPENSES INCURRED:

Date        Description                                          Amount
03/15/18    WESTLAW, RESEARCH 205                                 $210.33
03/16/18    WESTLAW, RESEARCH 205                                   $1.16
10/1/2018   FIRST LEGAL                                        $5,241.94

                                                            TOTAL EXPENSES           $5,453.43

                                            TOTAL BALANCE DUE UPON RECEIPT         $125,542.43




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                                 EXHIBIT 3
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CSD 1143 [04/28/96]
                                             UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF CALIFORNIA
DEBTOR:        Core Supplement Technology, Inc.                             DATE PETITION FILED: October 3, 2017
CASE NO.:      17-06078-MM11


                                                 FEE APPLICATION SUMMARY

APPLICANT: Fox Rothschild LLP                                   REPRESENTING: Debtor

ORDER APPROVING EMPLOYMENT:April 2, 2018
                                                                                        INTERIM PERIOD
                      CATAGORIES1                                March 9, 2018              August 13, 2018
                                                                HOURS                       AMOUNT REQUESTED
Employment Application of Fox Rothschild LLP              13                 $6,525.50
Use, Sale or Lease of Property                            232.5              $110,913.50
Fee Application of Fox Rothschild LLP                     8.1                2,650.00




1
 See categories suggested in UNITED STATES TRUSTEE GUIDELINES FOR REVIEWING APPLICATIONS FOR COMPENSATION AND
REIMBURSEMENT OF EXPENSES.
CSD 1143                                                  EXHIBIT “A”
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TOTALS:                                                                 232.5                  $120,089.00

NOTE:     Attach all fee application summaries for prior interim hearings.
CSD 1143 (Page 2) [04/28/96]

                         REPRINTED FROM THE U.S. TRUSTEE'S GUIDELINES FOR REVIEWING APPLICATIONS FOR
                                COMPENSATION AND REIMBURSEMENT OF EXPENSES DATED 1/30/96

Here is a list of suggested project categories for use in most bankruptcy cases Only one category should be used for a given activity.
Professionals should make their best effort to be consistent in their use of categories, whether within a particular firm or by different firms working
on the same case. It would be appropriate for all professionals to discuss the categories in advance and agree generally on how activities will be
categorized. The application may contain additional categories as the case requires. They are generally more applicable to attorneys in chapter 7
and chapter 11, but may be used by all professionals as appropriate.

ASSET ANALYSIS & RECOVERY: Identification and review of potential assets including causes of action and non-litigation recoveries.

ASSET DISPOSITION: Sales, leases (§ 365 matters), abandonment and related transaction work.

BUSINESS OPERATIONS: Issues related to debtor-in-possession operating in chapter 11 such as employee, vendor, tenant issues and other similar
problems.

CASE ADMINISTRATION: Coordination and compliance activities, including preparation of statement of financial affairs; schedules; list of
contracts; United States Trustee interim statements and operating reports; contacts with the United States Trustee; general creditor inquiries.

CLAIMS ADMINISTRATION & OBJECTIONS: Specific claim inquiries; bar date motions; analysis, objections and allowance of claims.

EMPLOYEE BENEFITS/PENSIONS: Review issues such as severance, retention, 401K coverage and continuance of pension plan.

FEE/EMPLOYMENT APPLICATIONS: Preparations of employment and fee applications for self or others; motions to establish interim procedures.

FEE/EMPLOYMENT OBJECTIONS: Review of and objections to the employment and fee applications of others.

FINANCING: Matters under § § 361, 363 and 364 including cash collateral and secured claims; loan document analysis.

LITIGATION: There should be a separate category established for each matter (e.g., XYZ Litigation).

MEETINGS OF CREDITORS: Preparing for and attending the conference of creditors, the § 341(a) meeting and other creditors' committee
meetings.

PLAN & DISCLOSURE STATEMENT: Formulation, presentation and confirmation; compliance with the plan confirmation order, related orders and
rules; disbursement and case closing activities, except those related to the allowance and objections to allowance of claims.

RELIEF FROM STAY PROCEEDINGS: Matters relating to termination or continuation of automatic stay under § 362.



The following categories are generally more applicable to accountants and financial advisors, but may be used by all professionals as appropriate.

ACCOUNTING/AUDITING: Activities related to maintaining and auditing books of account, preparation of financial statements and account
analysis.

BUSINESS ANALYSIS: Preparation and review of company business plan; development and review of strategies; preparation and review of cash
flow forecasts and feasibility studies.
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CORPORATE FINANCE: Review financial aspects of potential mergers, acquisitions and disposition of company or subsidiaries.

DATA ANALYSIS: Management information systems review, installation and analysis, construction, maintenance and reporting of significant case
financial data, lease rejection, claims, etc.

LITIGATION CONSULTING: Providing consulting and expert witness services relating to various bankruptcy matters such as insolvency, feasibility,
avoiding actions; forensic accounting, etc.

RECONSTRUCTION ACCOUNTING: Reconstructing books and records from past transactions and bringing accounting current.

TAX ISSUES: Analysis of tax issues and preparation of state and federal tax returns.

VALUATION: Appraise or review of appraisals of assets.




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                                         EXHIBIT 4
                                         TIME SUMMARY

Attorney                       Area of Expertise/       Hourly     Application   Total Fees
                               Year Admitted             Rate        Hours

Mette H. Kurth – Partner       Bankruptcy, 1996          $650             85.2       $55,380.00
                               (CA)

Kasey H. DeSantis –            Litigation, 2013 (DE)     $360             39.1       $14,076.00
Associate

L. John Bird – Associate       Bankruptcy, 2009          $430             14.9        $6,407.00
                               (DE)

Margaret M. Manning –          Bankruptcy, 2002          $405             95.3       $38,596.50
Associate                      (DE)

Courtney A. Emerson -          Litigation, 2014 (DE)   $346.95            5.90        $2,047.00
Associate
                                                       (Blended)

SUBTOTAL                                                                 241.4      $116,506.50

Blended Rate for Attorneys $482.63

Paraprofessional                                        Hourly     Application   Total Fees
                                                         Rate        Hours

Joseph DiStanislao                                       $365              2.0         $730.00

Ian Densmore                                           $279.35            10.0        $2,793.50

                                                       (Blended)

Patricia Chlum                                           $295              .20             $59

SUBTOTAL                                                                  12.2        $3,582.50

GRAND TOTAL                                                              254.1      $120,961.50
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                                        1                                DECLARATION OF METTE H. KURTH

                                        2             I, Mette H. Kurth, declare as follows:

                                        3             1.     I am an attorney, duly licensed and entitled to practice before courts of the State of

                                        4   California and the State of Delaware, and I am a member in good standing of the Bar of this Court.

                                        5   I am a partner in the law firm of Fox Rothschild LLP, special counsel for the Debtor.

                                        6             2.     I have personal knowledge of the facts set forth in the foregoing Application and,

                                        7   if called upon as a witness, I could and would competently testify as to all of the matters stated

                                        8   herein.
                                        9             3.     I submit this Declaration in support of Fox Rothschild LLP’s First and Final

                                       10   Application for Allowance and Payment of Compensation and Reimbursement of Expenses for the

                                       11   Period March 9, 2018 through August 13, 2018.
10250 Constellation Blvd., Suite 900




                                       12             4.     I have personally reviewed the information contained in the Application, and
     FOX ROTHSCHILD LLP

     Los Angeles, CA 90067
     (310) 598-4150 (phone)
       (310) 556-9828 (fax)




                                       13   believe its contents to be true and correct to the best of my knowledge, information and belief.

                                       14             5.     I am familiar with the Guidelines of the Office of the United States Trustee. I

                                       15   believe that Fox's fee application fully complies with these requirements.

                                       16             6.     I believe the firm's rates are the market rates that the majority of law firms charge

                                       17   clients for such services.

                                       18             7.     Having represented parties in interest in Chapter 11 cases for many years, I know

                                       19   the importance of establishing measures to monitor and reduce professional fees. I undertook

                                       20   responsibility for supervising all work that was done in this case, and I was directly involved only

                                       21   in those matters where senior-level involvement was warranted.

                                       22             8.     As the billing attorney in this case, I carefully reviewed each Fox bill and carefully

                                       23   evaluated each and every billing entry. I made downwards adjustments to our bills as I believed

                                       24   was appropriate in the exercise of my billing judgment.

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                                        1          I declare under penalty of perjury under the laws of the United States of America that the

                                        2   foregoing is true and correct.

                                        3          Executed on October 9, 2018 at Wilmington, Delaware.

                                        4                                                      /s/ Mette H. Kurth
                                                                                                 Mette H. Kurth
                                        5

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                                       10

                                       11
10250 Constellation Blvd., Suite 900




                                       12
     FOX ROTHSCHILD LLP

     Los Angeles, CA 90067
     (310) 598-4150 (phone)
       (310) 556-9828 (fax)




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 1                                 PROOF OF SERVICE OF DOCUMENT

 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is: Fox Rothschild LLP, 1980 Festival Plaza Drive, Suite 700, Las Vegas, NV 89135.
 3
     On October 9, 2018, I served the following Documents:
 4
 5           First and Final Application of Fox Rothschild LLP for Approval of Compensation
             and Reimbursement of Expenses for the Period March 9, 2018 through August 13,
 6           2018; Declaration of Mette H. Kurth
 7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Under
     controlling Local Bankruptcy Rules(s) (“LBR”), the document(s) listed above will be served by the
 8
     court via NEF and hyperlink to the document. On October 9, 2018, I checked the CM/ECF docket for
 9   this bankruptcy case or adversary proceeding and determined that the following person(s) are on the
     Electronic Mail Notice List to receive NEF transmission at the e-mail address(es) indicated and/or as
10   checked below:
11       •   Christopher V. Hawkins hawkins@sullivanhill.com,
             hill@sullivanhill.com;millerick@sullivanhill.com;bkstaff@sullivanhill.com;
12           vidovich@ecf.inforuptcy.com;hawkins@ecf.inforuptcy.com
         •   Stephen C. Hinze sch@schinzelaw.com
13       •   Richard M Kipperman teresaj@corpmgt.com, ca82@ecfcbis.com
         •   Harris J. Koroglu hkoroglu@shutts.com
14       •   David Ortiz david.a.ortiz@usdoj.gov,
             USTP.REGION15@USDOJ.GOV;tiffany.l.carroll@usdoj.gov;Elizabeth.C.Amorosi@usdoj.gov
15       •   J. Alexandra Rhim arhim@hemar-rousso.com, tdunn@hemar-rousso.com
         •   Gary B. Rudolph rudolph@sullivanhill.com,
16           hill@sullivanhill.com;millerick@sullivanhill.com;bkstaff@sullivanhill.com;vidovich@ecf.inforuptcy.com;
             rudolph@ecf.inforuptcy.com
17       •   Nathan Schultz nschultz@foxrothschild.com
         •   Gary E. Slater ges@slatertruxaw.com, grl@slatertruxaw.com;lmb@slatertruxaw.com
18       •   Wayne R. Terry wterry@hemar-rousso.com, mgranzow@hemar-rousso.com
         •   Timothy J. Truxaw tjt@slatertruxaw.com, grl@slatertruxaw.com
19       •   United States Trustee ustp.region15@usdoj.gov

20   2. SERVED BY UNITED STATES MAIL:
     On October 9, 2018, I served the following person(s) and/or entity(ies) at the last known address(es)
21   in this bankruptcy case or adversary proceeding by placing accurate copies in a sealed envelope in
     the United States Mail via 1) first class, postage prepaid or 2) certified mail with receipt number,
22   addressed as follows:
23           Trustee
             Richard M Kipperman
24           PO Box 3010
25           La Mesa, CA 91944-3010
             Gary E. Slater
26           Slater & Truxaw, LLP
27           15373 Innovation Drive, Suite 210
             San Diego, CA 92128
28


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 1           Timothy J. Truxaw
             Slater & Truxaw, LLP
 2           15373 Innovation Drive, Suite 210
 3           San Diego, CA 92128
             United States Trustee
 4           Office of the U.S. Trustee
             880 Front Street
 5
             Suite 3230
 6           San Diego, CA 92101
             David Ortiz
 7
             DOJ-Ust
 8           880 Front Street
             David A. Ortiz
 9           Suite 3230
             San Diego, CA 92101
10
                                                           ☐Service information continued on attached page
11
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL FACSIMILE
12   TRANSMISSION OR EMAIL Under Fed.R.Civ.P.5 and controlling LBR, on October 9, 2018, I
     served the following person(s) and/or entity(ies) by personal delivery, or (for those who consented in
13   writing to such service method), by facsimile transmission, by overnight delivery and/or electronic
     mail as follows:
14
             The Honorable Margaret M. Mann
15           United States Bankruptcy Court
             Jacob Weinberger United States Courthouse
16           325 West F Street
             San Diego, California 92101
17
18   I declare under penalty of perjury under the laws of the United States that the foregoing is true and
     correct.
19
20    October 9, 2018              Patricia M. Chlum                       /s/Patricia M. Chlum
      Date                         Printed Name                            Signature
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